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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                  Fort Lauderdale Division
                                   www.flsb.uscourts.gov

In re:

                                                                Case No. 19-10655-PGH
CONSUMER ADVOCACY
CENTER, INC.,                                                   Chapter 7

                  Debtor.
_________________________________/

              TRUSTEE’S MOTION TO ENFORCE THE AUTOMATIC STAY

         Sonya S. Slott, Chapter 7 Trustee (the “Trustee”) for Consumer Advocacy Center, Inc.

(the “Debtor”), by and through undersigned counsel, files this Motion to Enforce the Automatic

Stay (the “Motion”), specifically as to the Government’s (defined herein) prosecution of causes

of action in California District Court belonging to this estate, which claims are also currently

being litigated by the Trustee in this Court. In support thereof, the Trustee respectfully states as

follows:

                                 PRELIMINARY STATEMENT

         Prior to the appointment of the Trustee, the Debtor along with certain affiliates and

individuals were allegedly involved in a student loan debt forgiveness scam. Before the Debtor

filed for bankruptcy, it transferred its operations to those affiliates. Several months after the

Trustee’s appointment, the Government commenced litigation in California federal court as to

the Debtor and the other defendants which, among other things, shut down the operations there

and put those non-debtor entities in the hands of a receiver.

         The Trustee has been administering this case for the benefit of creditors, several of which

include certain of the governmental entities on behalf of defrauded consumers. In December, the



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Trustee filed a $3.6 million fraudulent transfer lawsuit against a third party. At that time, the

Government sought to dismiss this case so that, among other things, litigation belonging to the

estate could be brought by the receiver in California. Judge Olson denied that motion, finding it

was not in the best interest of the estate. One month later, the Government sued the same

defendant sued by the Trustee, for the same money sought by the Trustee. In addition to creating

the risk for inconsistent results in different forums, the Government’s action violates the

automatic stay.

       As set forth herein, those causes of action belong to the estate, and are within the

exclusive power of the Trustee to prosecute. The Government is not acting within its police

power by prosecuting the estate’s fraudulent transfer claims. As such, this Court should enforce

the automatic stay as to those claims.

                                         BACKGROUND

       1.       On January 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

in this Court for relief under Chapter 11 of the Bankruptcy Code.

       2.       On July 31, 2019, this Court entered an Order Directing the Appointment of a

Chapter 11 Trustee and Setting Status Conference [ECF No. 69]. Sonya S. Slott was thereafter

appointed as the Debtor’s Chapter 11 trustee [ECF No. 70].

       3.       The Debtor’s case was converted to a chapter 7 proceeding on August 20, 2019

[ECF No. 86] and Sonya S. Slott was thereafter appointed as the Debtor’s Chapter 7 Trustee

[ECF No. 89].

                             Receivership Proceedings in California

       4.       Prior to the Petition Date, the Debtor was purportedly in the business of providing

services relating to assistance with student loan debt relief. According to the Debtor, it “assisted



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Federal student loan borrowers by helping them choose the best Dept. of Education repayment

programs to suit their needs. The Debtor also purportedly “assisted such borrowers by preparing

the requisite documentation they needed to submit to the Dept. of Education.” See ECF No. 11.

       5.       Ten months after the Petition Date, on October 21, 2019, the Federal Bureau of

Consumer Financial Protection (the “Bureau”) and certain state governmental entities (the State

of Minnesota, the State of North Carolina and the State of California) (collectively, with the

Bureau, the “Government”) commenced a proceeding in the United States District Court for the

Central District of California (the “District Court”) against the Debtor and certain related

entities and individuals captioned Bureau of Consumer Financial Protection, et al., v. Consumer

Advocacy Center, Inc., True Count Staffing, Inc., Prime Consulting, LLC, Albert Kim, Kaine

Wen, And Tuong Nguyen, Defendants, and Infinite Management Corp., Hold the Door Corp. and

TN Accounting, Inc., Relief Defendants Case No. 19-cv-01998-JVS (the “Receivership

Proceeding”).

       6.       On October 21, the District Court entered an Ex-Parte Temporary Restraining

Order with Asset Freeze, Appointment of Receiver, and Other Equitable Relief, and Order to

Show Cause why a Preliminary Injunction should not Issue [ECF No. 24 in the Receivership

Court Proceeding].

       7.       Thereafter, on November 15, 2019, the District Court entered a Stipulated

Preliminary Injunction With Asset Freeze, Appointment of Receiver, and Other Equitable Relief

[ECF No. 103 in the Receivership Proceeding] (the “Preliminary Injunction”). A copy of the

Preliminary Injunction is attached as Exhibit “A”.




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           8.     The Preliminary Injunction makes clear in several provisions that it is not

intended to interfere with or otherwise impede the Trustee’s administration of the Debtor’s

estate.1

                       The Government’s Effort to Dismiss this Chapter 7 Case

           9.     On December 20, 2019 (almost a year after the Petition Date and several months

after the Trustee’s appointment), the Government moved to dismiss this Chapter 7 Case [ECF

No. 168] (the “Motion to Dismiss”). The Government sought the dismissal of this Chapter 7

Case and to have the Debtor’s assets and litigation claims (which the Trustee was and is

administering) placed under the control of the Receiver in the Receivership Proceeding. Among

other things, the Government argued that it would be more efficient for the Receiver to pursue

claims, and further argued that “[c]ontinuation of this proceeding will be harmful to creditors

because it will involve the continued accrual of fees by the Ch. 7 Trustee and her professionals

and potentially increases the costs of administration of both the bankruptcy estate and the

receivership estate, which will unnecessarily deplete the funds available for payments to

creditors and distributions to harmed consumers”. See Motion to Dismss, p. 1. 2




1
  By way of examples, and as set forth in the Preliminary Injunction, (a) the TRO includes an asset freeze as to all
Defendants except the Debtor, which assets are overseen by the Trustee [pg. 2], (b) the definition of “Assets”
specifically excludes property of the Debtor’s estate [pg. 2-3], (c) the Debtor, because it is under the jurisdiction of
this Court and administered by the Trustee, is not a Receivership Defendant [pg. 7, 12-14], (d) several provisions of
the Preliminary Injunction state that they do not apply to the Trustee or property of the estate [pg. 14- 17, 32 and
34], (e) the asset freeze does apply to the Trustee nor does it prohibit transfers of property of the estate to the Trustee
[pg. 14], (f) financial institutions are directed maintain, preserve or otherwise retain documents or assets of the
Debtor’s estate as directed by the Trustee in writing, and are further directed to identify and provide the Trustee with
account information relating to accounts in the name of the Debtor [pg. 15-16] and (g) the Receiver is to turn over
any property of the Debtor’s estate to the Trustee [pg. 34].
2
  As set forth herein, the Government’s action in litigating estate causes of action is interfering with the
administration of this estate, is harmful to the estate, and will “unnecessarily deplete the funds available for
payments to creditors and ultimately distributions to harmed consumers.”


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           10.     This Court (Judge Olson) agreed with the Trustee’s argument that dismissal

would not be in the best interest of the estate, and denied the Government’s Motion to Dismiss

by order dated January 25, 2020 [ECF No. 195].

                          Trustee’s Adversary Against Anan Enterprises, Inc.

           11.     On December 30, 2019, the Trustee filed an adversary proceeding against Anan

Enterprises, Inc. (“Anan”) in a matter captioned Sonya S. Slott, Chapter 7 Trustee v. Anan

Enterprises, Inc., Adv. No. 19-01960 (the “Anan Adversary”).

           12.     In the Anan Adversary, the Trustee seeks to avoid and recover the total sum of

$3,643,000.00 paid by the Debtor to Anan pursuant to sections 548 and 547 of the Bankruptcy

Code (the “Anan Transfers”).

           13.     Anan filed its Answer and Affirmative Defenses on March 2, 2020.

                     The Government’s Amended Complaint in the Receivership
                     Proceeding – Naming Anan and Seeking the Same Recovery

           14.     One month after Judge Olson denied the Government’s Motion to Dismiss, and

with full knowledge that the Trustee sued Anan for the Anan Transfers, on February 24, 2020,

the Government filed an Amended Complaint in the Receivership Proceeding (the “Amended

Complaint”). A copy of the Amended Complaint is attached as Exhibit “B”.

           15.     In the Amended Complaint, the Government named Anan and others as new

Relief Defendants. In that case, the Government seeks to recover the $3.6 million that the

Debtor paid Anan – the exact same money the Trustee has sued Anan for – i.e., the Anan

Transfers. Specifically, the Government alleges in paragraph 210 of the Amended Complaint:

                   Between 2017-2018, CAC3 paid Anan Enterprise approximately
                   $3.6 million ostensibly for services, but Anan Enterprise never
                   rendered those services.

3
    CAC is defined as Consumer Advocacy Center, Inc., the Chapter 7 Debtor herein.


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           16.      In fact, the Government readily admits that it is prosecuting Anan for the Anan

Transfers. On the day it filed the Amended Complaint, the Government filed a “Notice of

Pendency of Other Action or Proceeding” in the Receivership Proceeding (the “Notice”), a copy

of which is attached as Exhibit “C”. In the Notice, the Government states that the Trustee first

sued Anan in this Court for the Anan Transfers, and that the Trustee’s complaint against Anan “.

. . appears to arise from the same facts that form the Bureau’s claims against Anan as a Relief

Defendant in this proceeding. The Trustee and the Bureau each allege that Anan was

unjustly enriched by payments from CAC to Anan.” See Exhibit “C” (emphasis added).

           17.      By this Motion, the Trustee seeks the entry of an order enforcing the automatic

stay as to the prosecution of the Anan Claims by the Government.4

                                                  ARGUMENT

                         The Claims Against Anan are Property of the Estate,
                         Which the Trustee has Exclusive Standing to Prosecute

           18.      The claims asserted against Anan for the Anan Transfers – brought first by the

Trustee before this Court and now just recently by the Government in the Receivership

Proceeding – are property of this bankruptcy estate. This Court and many others have held that

causes of action that exist as of the petition date, including for avoidable fraudulent transfers, are

property of the estate under sections 541 and 544(b) of the Bankruptcy Code. In re Zwirn, 362

B.R. 536 (Bankr. S.D. Fla. 2007)(In granting a trustee’s motion to settle a creditor’s pre-petition

fraudulent transfer lawsuit over the creditor’s objection, Judge Cristol held: “. . . the better, well-

reasoned approach is to conclude that [fraudulent transfer] claims are property of the estate as of

the petition date, and that they are solely within the power of a bankruptcy trustee to commence

and prosecute . . .”(citations omitted)); In re C.D. Jones & Company, Inc., 482 B.R. 449 (Bankr.
4
    The Trustee takes no position with respect to any other claims the Government might have against Anan.

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N.D. Fla. 2012) (Holding that any claims asserted in state court which belonged to the Debtor as

of the petition date (including fraudulent transfer claims) are property of the estate); In re

Xenerga, Inc., 449 B.R. 594 (Bankr. M.D. Fla. 2011)(claims based on customers’ alter ego

allegations where property of the bankruptcy estate); In re Moore, 608 F. 3d 253 (5th Cir. 2010)

(fraudulent transfer and veil piercing causes of action deemed property of the estate as of the

petition date under sections 541(a)(1) and 544(b), which the trustee can sell).

       19.      Moreover, it is universally held that once a bankruptcy is filed, the trustee has

the exclusive standing to pursue fraudulent transfer litigation and other avoidance causes of

action. In re Zwirn, 362 B.R. at 539-540); In re Xenerga, Inc., 449 B.R. at 599; In re Pearlman,

472 B.R. 115, 122 (Bankr. S.D. Fla. 2012) (“Indeed, only the trustee can bring federal and state

law fraudulent transfer actions to recover property for the bankrupt estate)(emphasis in original);

In re Clark, 374 B.R. 874, 876 (Bankr. M.D. Ala. 2007) (“It is a matter of black letter law that

once a bankruptcy case is filed, the Trustee in bankruptcy has the exclusive right to bring a

fraudulent conveyance suit to recover property transferred by the debtor”); In re Morris, 2011

WL 4544057 *3 (Bankr.N.D. Ohio 2011) (“The chapter 7 trustee has exclusive standing to

prosecute or settle avoidance actions for the purpose of orderly administration of the bankruptcy

estate”); In re Fritz, 88 B.R. 434 (Bankr.S.D. Fla.1988) (creditor lacks standing to assert

avoidance claim because this claim “is available only to the bankruptcy trustee, not to a

creditor.”); Nat'l Tax Credit Partners, L.P. v. Havlik, 20 F.3d 705, 708–709 (7th Cir.1994);

(“[T]he right to recoup a fraudulent transfer, which outside of bankruptcy may be invoked by a

creditor, is property of the estate that only a trustee or debtor in possession may pursue once a

bankruptcy is under way.”).




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           20.    There can be no question that the Government is prosecuting claims belonging to

the Trustee. As set forth above, the Government is suing Anan for the exact same $3.6 million

(i.e., the Anan Transfers). The Government readily admits that the Trustee’s suit against Anan to

avoid and recover fraudulent transfers is based out of “the same facts that form the Bureau’s

claims against Anan.” See Exhibit “C”. Those facts are set forth in paragraph 210 of the

Amended Complaint: the payment of $3.6 million from the Debtor to Anan, for services not

rendered. The Government is seeking repayment, or disgorgement, of money the Debtor paid

Anan for no consideration.

                    The Government’s Claims Against Anan are Subject to the
                  Automatic Stay and are not within the “Police Power Exception”

           21.    Because the Government is prosecuting a cause of action belonging to this estate,

it is subject to 11 U.S.C. § 362(a)(3) which acts as a stay of “any act to obtain possession of

property of the estate or of property from the estate or to exercise control over property of the

estate”.     In re Zwirn, 362 B.R. at 539 (“. . . all courts appear to agree that commencing a

bankruptcy case stays any state court fraudulent conveyance actions by a creditor (citations

omitted); GATX Corporation v. Addington, 2012 WL 896241, *2 (E.D. Ky. 2012) “[C]ourts have

consistently held that pre-petition fraudulent conveyance claims brought against a third-party

transferee are automatically stayed once the debtor-transferor files a petition for bankruptcy. . . .

To allow a creditor to pursue a fraudulent conveyance claim against a third party transferee

would frustrate the Bankruptcy Code's policy of equitable distribution among creditors by

allowing the creditor ‘to push its way to the front of the line of creditors.’” Id. at *3, citing

National Labor Relations Board v. Martin Arsham Sewing Company, 873 F.2d 884 (6th

Cir.1989).




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       22.     The Government takes the position that its suit to recover the Anan Transfers is

subject to the “police power” exception of 11 U.S.C. § 362(b)(4), which permits a government

enforce its “. . . police and regulatory power, including the enforcement of a judgment other than

a money judgment, obtained in an action or proceeding by the governmental unit to enforce such

governmental unit’s . . . police or regulatory power.”

       23.     However, the “police power” exception is “intended to be given a narrow

construction in order to permit governmental units to pursue actions to protect the public health

and safety and not to apply to actions by a governmental unit to protect a pecuniary interest in

property of the debtor or property of the estate.” In re Blunt, 210 B.R. 626, 634 (Bank. M.D. Fla.

1999) citing    HR Rep. No. 595, 95th Cong., 1st Sess. 342 (1977) U.S.Code Cong. &

Admin.News 1978, p. 5787 (emphasis added). “The legislative history of this section indicates

that when a debtor is sued by a governmental unit in order “to prevent or stop violation of fraud .

. . consumer protection . . . or similar police or regulatory laws, or attempting to fix damages for

violation of such a law, the action or proceeding is not stayed under the automatic stay.” In re

First Alliance Mortgage Co., 263 B.R. 99, 106 (9th Cir BAP 2001) (emphasis in original).

       24.     Not every police or regulatory action is automatically exempt from the stay.

Regulatory actions which “directly conflict with the control of the res or property by the

bankruptcy court will be stayed.” Id., citing In re Universal Life Church, Inc., 128 F. 3d 1294,

1297 (9th Cir. 1997) (emphasis added). Moreover, if the government is acting in furtherance of

its “pecuniary purpose”, the action will also be subject to the automatic stay.          Under the

“pecuniary purpose” test, the court must determine “whether the government action relates

primarily to the protection of the government’s pecuniary interest in the debtor’s property or to

matters of public safety and welfare.” Id. at 1297 (citations omitted). The relevant inquiry is



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whether the action is being pursued “solely to advance a pecuniary interest of the governmental

unit,” in which case the stay will be imposed. Id. (citations omitted). Such actions have been

described as those that would “result in an economic advantage to the government or its citizens

over third parties in relation to the debtor’s estate.” In re First Alliance Mortgage Co., 263 B.R.

at 106; In re Charter First Mortg., Inc., 42 B.R. 380, 382 (Bankr.D.Or.1984).

         25.      By prosecuting the Anan Transfers, the Government is not seeking to stop a fraud

or a violation of consumer protection laws. Nor is it seeking to fix damages for violations of

consumer protection laws (by Anan). Injunctive Relief has been entered with respect to the

Debtor’s and its affiliates’ operations which allegedly violated consumer protection laws. The

operations have ceased. The Debtor has been in chapter 7 with a court appointed fiduciary for

some time. Contrary to the extensive allegations against the Debtor and certain related entities

and individuals, there are no facts alleged in the Amended Complaint that suggest that Anan

violated consumer protection laws. Rather, in one paragraph, the Government alleges that Anan

is controlled by a relative of the Debtor’s principal (paragraph 63), and in another paragraph the

Government alleges that Anan received the Anan Transfers for no consideration (paragraph 210).

         26.      Instead, the Government has taken an action which “directly conflicts with the

control of the res or property” under the jurisdiction of this Court.                          And further, the

Government’s action is solely being pursued to advance a pecuniary interest (i.e., recovery of the

Anan Transfers).5




5
  The Government will argue that it is seeking to recover the Anan Transfers on behalf of consumers of the Debtor,
along with consumers of other defendants in the Receivership Proceeding, including True Count Staffing, Inc. and
Prime Consulting, LLC. That is a pecuniary interest. The Trustee is seeking to recover the Anan Transfers on
behalf of the creditors of the estate, which do not necessarily include consumers of the non-debtor entities and also
include creditors other than the Government (which Government claims are currently disputed).


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         27.      Prior to the filing of this Motion, the Trustee advised the Government that by

prosecuting the Anan Transfers, it violated the automatic stay and was interfering with the

Trustee’s administration of the estate. The parties had a meet and confer to discuss. To support

its argument that it could freely sue Anan for the Anan Transfers, the Government cited two

cases: In re Wyly, 526 B.R. 194 (Bankr. N.D. Texas 2015) and an unreported decision by this

Court in Rothschild Reserve International, Inc., Case No. 01-30448-BKC-SHF (Bankr. S.D. Fla.

May 3, 2001), a copy of which is attached as Exhibit “D”. Each of those cases stand for the

unremarkable position that the automatic stay does not bar the government from naming a debtor

as a relief defendant for alleged violations of federal securities laws.6 Neither of those cases

state that the government can prosecute claims against third parties based on transfers from the

debtor in bankruptcy, nor do they otherwise contradict the extensive authority holding that only

the Trustee can prosecute causes of action belonging to the estate.




                     [THIS SPACE WAS INTENTIONALLY LEFT BLANK]




6
 Which is exactly what happened in this case. Several months after the Petition Date, the Government named the
Debtor as a defendant in the Receivership Proceeding based on alleged violations of consumer protection laws. The
Trustee has not disputed the Debtor’s presence in that lawsuit and in fact has offered to stipulate to the issuance of
permanent injunctive relief therein.

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       WHEREFORE, the Trustee respectfully requests that this Court enter an Order granting

this Motion, enforcing the automatic stay as to the Government’s prosecution of the Anan

Transfers, and granting such other and further relief as is proper.

                                              Respectfully submitted on March 10, 2020.

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

CM/ECF notification upon all interested parties registered to receive electronic notification on

this matter as indicated on the service list below on this 10th day of March, 2020.


                                              By:     /s/ Glenn D. Moses
                                                      Glenn D. Moses, Esq.




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                                       SERVICE LIST

Notice will be electronically mailed via CM/ECF upon:

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         EXHIBIT “A”




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     DQG&RQVXPHU)UDXGDQG$EXVH3UHYHQWLRQ$FW86& F   G 
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        7HOHPDUNHWLQJ$FW EDVHGRQ'HIHQGDQWV¶YLRODWLRQVRIWKH&)3$DQGWKH
    7HOHPDUNHWLQJ6DOHV5XOH 765 &)5SW7KH6WDWHRI0LQQHVRWDKDV
    DOOHJHGYLRODWLRQVRIWKH0LQQHVRWD3UHYHQWLRQRI&RQVXPHU)UDXG$FW 01&)$ 
    0LQQ6WDW)WKH0LQQHVRWD8QLIRUP'HFHSWLYH7UDGH3UDFWLFHV
    $FW 01'73$ 0LQQ6WDW'DQGWKH7HOHPDUNHWLQJ$FWDQGLWV
    LPSOHPHQWLQJUHJXODWLRQWKH7657KH6WDWHRI1RUWK&DUROLQDKDVDOOHJHG
    YLRODWLRQVRI1RUWK&DUROLQD¶V'HEW$GMXVWLQJ$FW 1&'$$ 1&*HQ6WDW
    et seq.1RUWK&DUROLQD¶V7HOHSKRQLF6HOOHU5HJLVWUDWLRQ$FW 1&765$ 
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   LPSOHPHQWLQJUHJXODWLRQWKH7657KH3HRSOHRIWKH6WDWHRI&DOLIRUQLDKDYH
   DOOHJHGYLRODWLRQVRI&DOLIRUQLD¶V%XVLQHVVDQG3URIHVVLRQV&RGHet seq. WKH
   8QIDLU&RPSHWLWLRQ/DZRU8&/ DQGWKH7HOHPDUNHWLQJ$FWDQGLWV
   LPSOHPHQWLQJUHJXODWLRQWKH765
            7KH&RPSODLQWDOOHJHVWKDW'HIHQGDQWV¶DFWVRUSUDFWLFHVYLRODWHWKHVHODZV
   LQFRQQHFWLRQZLWKWKHPDUNHWLQJDQGVDOHRIVWXGHQWORDQGHEWUHOLHIVHUYLFHV7KH
   &RPSODLQWVHHNVSHUPDQHQWLQMXQFWLYHUHOLHIGDPDJHVUHVFLVVLRQRUUHIRUPDWLRQRI
   FRQWUDFWVWKHUHIXQGRIPRQLHVSDLGUHVWLWXWLRQGLVJRUJHPHQWFRPSHQVDWLRQIRU
   XQMXVWHQULFKPHQWDQGFLYLOPRQH\SHQDOWLHV
            7KH%XUHDXDOVRPRYHGIRUDWHPSRUDU\UHVWUDLQLQJRUGHUSXUVXDQWWR5XOH
    E RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHDQGDQRUGHUWRVKRZFDXVHZK\D
   SUHOLPLQDU\LQMXQFWLRQVKRXOGQRWLVVXHDJDLQVW'HIHQGDQWVDQG5HOLHI'HIHQGDQWV
   &DOLIRUQLD0LQQHVRWDDQG1RUWK&DUROLQDMRLQHGWKDWPRWLRQ2Q2FWREHU
   WKLV&RXUWJUDQWHG3ODLQWLIIV¶PRWLRQDQGHQWHUHGWKH7HPSRUDU\5HVWUDLQLQJ
   2UGHU 752 ZKLFKLQFOXGHGDQDVVHWIUHH]HDVWR'HIHQGDQWV H[FHSW&RQVXPHU
   $GYRFDF\&HQWHU,QFZKRVHDVVHWVDUHFXUUHQWO\RYHUVHHQE\D&KDSWHU
   EDQNUXSWF\WUXVWHH DQG5HOLHI'HIHQGDQWVSUHOLPLQDU\LQMXQFWLYHUHOLHIDVWRDOO
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    &RXQW6WDIILQJ,QF 7UXH&RXQW DQG3ULPH&RQVXOWLQJ//& 3ULPH DQGRWKHU
    HTXLWDEOHUHOLHI7KH&RXUWDOVRRUGHUHGDOOQDPHG'HIHQGDQWVWRVKRZFDXVHDVWR
    ZK\WKH &RXUWVKRXOGQRWHQWHUDSUHOLPLQDU\LQMXQFWLRQ 2UGHU HQMRLQLQJWKH
    YLRODWLRQVRIODZDOOHJHGLQ3ODLQWLIIV¶&RPSODLQWFRQWLQXLQJWKHIUHH]HRIWKHLU
    $VVHWVDQGLPSRVLQJVXFKDGGLWLRQDOUHOLHIDVPD\EHDSSURSULDWH
           7KH3ODLQWLIIVDQGDOO'HIHQGDQWVH[FHSWIRUWKH&KDSWHU7UXVWHHRQEHKDOI
    RI'HIHQGDQW&RQVXPHU$GYRFDF\&HQWHU,QFKDYHDJUHHGWRWKHHQWU\RIWKLV
    SUHOLPLQDU\LQMXQFWLRQRUGHUDQGWKH&KDSWHU7UXVWHHKDYLQJDGYLVHGWKH&RXUW
    VHSDUDWHO\WKDWKLVGRHVQRWRSSRVHHQWU\RIWKLVRUGHU
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   JRRGFDXVHWREHOLHYHWKDWLWZLOOKDYHMXULVGLFWLRQRYHUDOOWKHSDUWLHVKHUHWRDQG
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   GED6/$FFRXQW0DQDJHPHQW FROOHFWLYHO\7UXH&RXQW  F 3ULPH&RQVXOWLQJ
   //&D:\RPLQJOLPLWHGOLDELOLW\FRUSRUDWLRQUHJLVWHUHGWRRSHUDWHLQ&DOLIRUQLD
   GED)LQDQFLDO3UHSDUDWLRQ6HUYLFHV FROOHFWLYHO\3ULPH  G $OEHUW.LP DND
   $OEHUW.LQJ DQLQGLYLGXDO H .DLQH:HQ DND:HQWLQJ.DLQH'DL:HQ7LQJ
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   LQGLYLGXDOKDYHHQJDJHGDQGDUHOLNHO\WRFRQWLQXHWRHQJDJHLQDFWVRUSUDFWLFHV
   WKDWYLRODWHWKH&)3$WKH765WKH01&)$WKH01'73$WKH1&'$$WKH
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   5HOLHI'HIHQGDQWV D ,QILQLWH0DQDJHPHQW&RUSD&DOLIRUQLDFRUSRUDWLRQ
   IRUPHUO\NQRZQDV,QILQLWH0DQDJHPHQW6ROXWLRQV,QF E +ROG7KH'RRU&RUS

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    D&DOLIRUQLDFRUSRUDWLRQDQG F 71$FFRXQWLQJ,QFD&DOLIRUQLDFRUSRUDWLRQ
    KDYHUHFHLYHGIXQGVRUDVVHWVDQGDUHOLNHO\WRFRQWLQXHWRUHFHLYHIXQGVRUDVVHWV
    WKDWFDQEHWUDFHGGLUHFWO\WR'HIHQGDQWV¶XQODZIXODFWVDQGSUDFWLFHV3ODLQWLIIVDUH
    WKHUHIRUHOLNHO\WRSUHYDLORQWKHPHULWVRIWKLVDFWLRQ
                7KHUHLVJRRGFDXVHWREHOLHYHWKDWLPPHGLDWHDQGLUUHSDUDEOHKDUP
    ZLOOUHVXOWIURP'HIHQGDQWV¶RQJRLQJYLRODWLRQVRIWKHVHODZVXQOHVV'HIHQGDQWV
    DQG5HOLHI'HIHQGDQWVDUHSUHOLPLQDULO\UHVWUDLQHGDQGHQMRLQHGE\2UGHURIWKLV
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   WRWKH&RXUW¶VDELOLW\WRJUDQWHIIHFWLYHILQDOUHOLHIIRUFRQVXPHUVLQWKHIRUPRI
   PRQHWDU\GDPDJHVUHVWLWXWLRQDQGGLVJRUJHPHQWRUFRPSHQVDWLRQIRUXQMXVW
   HQULFKPHQWZLOORFFXUIURPWKHWUDQVIHUGLVVLSDWLRQRURWKHUGLVSRVLWLRQRU
   FRQFHDOPHQWE\'HIHQGDQWVDQG5HOLHI'HIHQGDQWVRIWKHLUDVVHWVRUEXVLQHVV
   UHFRUGVXQOHVV'HIHQGDQWVDQG5HOLHI'HIHQGDQWVFRQWLQXHWREHUHVWUDLQHGDQG
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   XOWLPDWHVXFFHVVRQWKHPHULWVWKLV2UGHULVLQWKHSXEOLFLQWHUHVW
               7KHDXWRPDWLFVWD\RIWKH%DQNUXSWF\&RGHGRHVQRWVWD\WKHUHOLHI
   JUDQWHGKHUHLQDJDLQVW&$&ZKLFKKDVILOHGIRUEDQNUXSWF\LQ8QLWHG6WDWHV
   %DQNUXSWF\&RXUWLQWKH6RXWKHUQ'LVWULFWRI)ORULGD)RUW/DXGHUGDOH'LYLVLRQ
   &DVH1REHFDXVHWKHUHOLHIJUDQWHGKHUHLQIDOOVZLWKLQWKHSROLFHDQG
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              $VWKH%XUHDXLVDQDJHQF\RIWKH8QLWHG6WDWHVQRVHFXULW\LV
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              ³$VVHWV´PHDQVH[FHSWDVSURYLGHGKHUHLQDQ\OHJDORUHTXLWDEOH
   LQWHUHVWLQULJKWWRRUFODLPWRDQ\UHDOSHUVRQDORULQWHOOHFWXDOSURSHUW\RZQHGRU
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   DQ\'HIHQGDQWRU5HOLHI'HIHQGDQWZKHUHYHUORFDWHGZKHWKHULQWKH8QLWHG6WDWHV
   RUDEURDG7KLVLQFOXGHVEXWLVQRWOLPLWHGWRFKDWWHOJRRGVLQVWUXPHQWV
   HTXLSPHQWIL[WXUHVJHQHUDOLQWDQJLEOHVHIIHFWVOHDVHKROGVFRQWUDFWVPDLORU
   RWKHUGHOLYHULHVVKDUHVRIVWRFNFRPPRGLWLHVIXWXUHVLQYHQWRU\FKHFNVQRWHV
   DFFRXQWVFUHGLWVUHFHLYDEOHV DVWKRVHWHUPVDUHGHILQHGLQWKH8QLIRUP
   &RPPHUFLDO&RGH IXQGVFDVKDQGWUXVWVLQFOXGLQJEXWQRWOLPLWHGWRDQ\WUXVW
   KHOGIRUWKHEHQHILWRIDQ\,QGLYLGXDO'HIHQGDQWV¶PLQRUFKLOGUHQRUDQ\RIWKH
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    ,QFGED3UHPLHU6WXGHQW/RDQ&HQWHUZKLFKLQWHUHVWVDUHSURSHUW\RIWKH
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                D SURYLGLQJSDUDOHJDORUDGPLQLVWUDWLYHVXSSRUWVHUYLFHV
                E SHUIRUPLQJFXVWRPHUVHUYLFHIXQFWLRQVLQFOXGLQJEXWQRWOLPLWHGWR
                   UHFHLYLQJRUUHVSRQGLQJWR&RQVXPHUFRPSODLQWV
                F IRUPXODWLQJRUSURYLGLQJRUDUUDQJLQJIRUWKHIRUPXODWLRQRU
                   SURYLVLRQRIDQ\DGYHUWLVLQJRUPDUNHWLQJPDWHULDOLQFOXGLQJEXWQRW
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                  WH[WRIDQ\,QWHUQHWZHEVLWHHPDLORURWKHUHOHFWURQLFFRPPXQLFDWLRQ
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                  SURYLVLRQRIDQ\PDUNHWLQJVXSSRUWPDWHULDORUVHUYLFHLQFOXGLQJEXW
                  QRWOLPLWHGWRZHERU,QWHUQHW3URWRFRODGGUHVVHVRUGRPDLQQDPH
                  UHJLVWUDWLRQIRUDQ\,QWHUQHWZHEVLWHVDIILOLDWHPDUNHWLQJVHUYLFHVRU
                  PHGLDSODFHPHQWVHUYLFHV
               H SURYLGLQJQDPHVRIRUDVVLVWLQJLQWKHJHQHUDWLRQRISRWHQWLDO
                  FXVWRPHUV
               I SHUIRUPLQJPDUNHWLQJELOOLQJRUSD\PHQWVHUYLFHVRIDQ\NLQG
               J DFWLQJRUVHUYLQJDVDQRZQHURIILFHUGLUHFWRUPDQDJHURUSULQFLSDO
                  RIDQ\HQWLW\DQG
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   DSSRLQWHGRYHU'HIHQGDQW&RQVXPHU$GYRFDF\&HQWHU,QFGED3UHPLHU6WXGHQW

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    /RDQ&HQWHUE\WKH8QLWHG6WDWHV%DQNUXSWF\&RXUW6RXWKHUQ'LVWULFWRI)ORULGD
    )RUW/DXGHUGDOH'LYLVLRQLQWKH%DQNUXSWF\3URFHHGLQJDQGDQ\VXFFHVVRUWUXVWHH
               ³&RQVXPHU´PHDQVDQLQGLYLGXDORUDQDJHQWWUXVWHHRU
    UHSUHVHQWDWLYHDFWLQJRQEHKDOIRIDQLQGLYLGXDO
               ³'HEW´PHDQVDQ\REOLJDWLRQRUDOOHJHGREOLJDWLRQWRSD\PRQH\
    ZKHWKHURUQRWVXFKREOLJDWLRQKDVEHHQUHGXFHGWRMXGJPHQW
               ³'HEW5HOLHI3URGXFWRU6HUYLFH´PHDQVDQ\SURGXFWVHUYLFHSODQ
    RUSURJUDPUHSUHVHQWHGGLUHFWO\RUE\LPSOLFDWLRQWRUHQHJRWLDWHVHWWOHRULQDQ\
    ZD\DOWHUWKHWHUPVRISD\PHQWRURWKHUWHUPVRIWKH'HEWEHWZHHQD&RQVXPHUDQG
   RQHRUPRUHFUHGLWRUVRU'HEWFROOHFWRUVLQFOXGLQJEXWQRWOLPLWHGWRDUHGXFWLRQ
   LQWKHEDODQFHLQWHUHVWUDWHRUIHHVRZHGE\D3HUVRQWRDFUHGLWRURU'HEW
   FROOHFWRU
             ³'HIHQGDQWV´PHDQVWKH&RUSRUDWH'HIHQGDQWV,QGLYLGXDO
   'HIHQGDQWVDQG5HOLHI'HIHQGDQWVLQGLYLGXDOO\FROOHFWLYHO\RULQDQ\
   FRPELQDWLRQDQGHDFKRIWKHPE\ZKDWHYHUQDPHVHDFKPLJKWEHNQRZQ
                 D   ³&RUSRUDWH'HIHQGDQWV´PHDQV&RQVXPHU$GYRFDF\&HQWHU
                 ,QFGED3UHPLHU6WXGHQW/RDQ&HQWHU7UXH&RXQW6WDIILQJ,QF
                 GED6/$FFRXQW0DQDJHPHQW3ULPH&RQVXOWLQJ//&GED
                 )LQDQFLDO3UHSDUDWLRQ6HUYLFHVDQGDQ\RWKHUQDPHE\ZKLFKHDFK
                 &RUSRUDWH'HIHQGDQWPD\EHNQRZQRURSHUDWH
                 E   ³,QGLYLGXDO'HIHQGDQWV´PHDQV$OEHUW.LP DND$OEHUW.LQJ 
                 .DLQH:HQ DND:HQWLQJ.DLQH'DL:HQ7LQJ'DL.DLQH:HQ
                 'DL DQG7XRQJ1JX\HQ DND7RP1HOVRQ DQGDQ\RWKHUQDPHE\
                 ZKLFKHDFK,QGLYLGXDO'HIHQGDQWPD\EHNQRZQ
                 F   ³5HFHLYHUVKLS'HIHQGDQWV´PHDQV7UXH&RXQW6WDIILQJ,QF
                 GED6/$FFRXQW0DQDJHPHQW3ULPH&RQVXOWLQJ//&GED
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                 DQGWKHLUVXFFHVVRUVDVVLJQVDIILOLDWHVRUVXEVLGLDULHVDQGHDFKRI
                 WKHPE\ZKDWHYHUQDPHVHDFKPD\EHNQRZQSURYLGHGWKDWWKH
                 5HFHLYHUKDVUHDVRQWREHOLHYHWKH\DUHRZQHGRUFRQWUROOHGLQZKROH
                 RULQSDUWE\DQ\RIWKH5HFHLYHUVKLS'HIHQGDQWV
                 G   ³5HOLHI'HIHQGDQWV´PHDQV,QILQLWH0DQDJHPHQW&RUSIND
                 ,QILQLWH0DQDJHPHQW6ROXWLRQV,QF+ROG7KH'RRU&RUS71
                 $FFRXQWLQJ,QFDQGDQ\RWKHUQDPHE\ZKLFKHDFK5HOLHI'HIHQGDQW
                 PD\EHNQRZQRURSHUDWHDQG
             ³'RFXPHQW´DQG³(OHFWURQLFDOO\6WRUHG,QIRUPDWLRQ´DUH
   V\QRQ\PRXVLQPHDQLQJDQGHTXDOLQVFRSHWRWKHXVDJHRIWKHWHUPVLQ5XOH D 
   RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHDQGLQFOXGHEXWDUHQRWOLPLWHGWR
                D   WKHRULJLQDORUDWUXHFRS\RIDQ\ZULWWHQW\SHGSULQWHG
                HOHFWURQLFDOO\VWRUHGWUDQVFULEHGWDSHGUHFRUGHGILOPHGSXQFKHG
                RUJUDSKLFPDWWHURURWKHUGDWDFRPSLODWLRQVRIDQ\NLQGLQFOXGLQJ
                EXWQRWOLPLWHGWROHWWHUVHPDLORURWKHUFRUUHVSRQGHQFHPHVVDJHV
                PHPRUDQGDSDSHULQWHURIILFHFRPPXQLFDWLRQVQRWHVUHSRUWV
                VXPPDULHVPDQXDOVPDJQHWLFWDSHVRUGLVFVWDEXODWLRQVERRNV
                UHFRUGVFKHFNVLQYRLFHVZRUNSDSHUVMRXUQDOVOHGJHUVVWDWHPHQWV
                UHWXUQVUHSRUWVVFKHGXOHVILOHVFKDUWVORJVHOHFWURQLFILOHVVWRUHG
                LQDQ\PHGLXP
                E   DQ\HOHFWURQLFDOO\FUHDWHGRUVWRUHGLQIRUPDWLRQLQFOXGLQJEXW
                QRWOLPLWHGWRHOHFWURQLFPDLOLQVWDQWPHVVDJLQJYLGHRFRQIHUHQFLQJ
                606006RURWKHUWH[WPHVVDJLQJDQGRWKHUHOHFWURQLF
                FRUUHVSRQGHQFH ZKHWKHUDFWLYHDUFKLYHGXQVHQWRULQDQGHOHWHG
                LWHPVIROGHU ZRUGSURFHVVLQJILOHVVSUHDGVKHHWVGDWDEDVHV
                'RFXPHQWPHWDGDWDSUHVHQWDWLRQILOHVDQGVRXQGUHFRUGLQJV
                ZKHWKHUVWRUHGRQDQ\FHOOSKRQHVVPDUWSKRQHVIODVKGULYHV
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                    FRPSXWHUDQGZRUNVWDWLRQVODSWRSVQRWHERRNVDQGRWKHUSRUWDEOH
                    FRPSXWHUVRURWKHUHOHFWURQLFVWRUDJHPHGLDEDFNXSGLVNVDQGWDSHV
                    DUFKLYHGLVNVDQGWDSHVDQGRWKHUIRUPVRIRIIOLQHVWRUDJHZKHWKHU
                    DVVLJQHGWRLQGLYLGXDOVRULQSRROVRIFRPSXWHUVDYDLODEOHIRUVKDUHG
                    XVHRUSHUVRQDOO\RZQHGEXWXVHGIRUZRUNUHODWHGSXUSRVHVZKHWKHU
                    VWRUHGRQVLWHZLWKWKHFRPSXWHUXVHGWRJHQHUDWHWKHPVWRUHGRIIVLWH
                    LQDQRWKHUFRPSDQ\IDFLOLW\RUVWRUHGKRVWHGRURWKHUZLVH
                    PDLQWDLQHGRIIVLWHE\DWKLUGSDUW\DQGFRPSXWHUVDQGUHODWHGRIIVLWH
                    VWRUDJHXVHGE\'HIHQGDQWVRU'HIHQGDQWV¶SDUWLFLSDWLQJDVVRFLDWHV
                   ZKLFKPD\LQFOXGH3HUVRQVZKRDUHQRWHPSOR\HHVRIWKHFRPSDQ\
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               ³(OHFWURQLF'DWD+RVW´PHDQVDQ\3HUVRQRUHQWLW\WKDWVWRUHVKRVWV
   RURWKHUZLVHPDLQWDLQVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
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   OLPLWHGWRDQ\EURNHUDJHKRXVHWUXVWHHEURNHUGHDOHUHVFURZDJHQWWLWOH
   FRPSDQ\FRPPRGLW\WUDGLQJFRPSDQ\RUSUHFLRXVPHWDOGHDOHU
               ³3HUVRQ´PHDQVDQLQGLYLGXDOSDUWQHUVKLSFRPSDQ\FRUSRUDWLRQ
   DVVRFLDWLRQ LQFRUSRUDWHGRUXQLQFRUSRUDWHG WUXVWHVWDWHFRRSHUDWLYH
   RUJDQL]DWLRQRURWKHUHQWLW\
               ³3ODLQWLIIV´PHDQVWKH%XUHDXRI&RQVXPHU)LQDQFLDO3URWHFWLRQWKH
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               ³5HFHLYHU´PHDQVWKHUHFHLYHUDSSRLQWHGLQ6HFWLRQ;,,RIWKLV2UGHU
   DQGDQ\GHSXW\UHFHLYHUVWKDWVKDOOEHQDPHGE\WKHUHFHLYHU
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               ³7HOHPDUNHWLQJ´PHDQVDSODQSURJUDPRUFDPSDLJQ ZKHWKHURU
    QRWFRYHUHGE\WKH765&)53DUW WKDWLVFRQGXFWHGWRLQGXFHWKH
    SXUFKDVHRIJRRGVRUVHUYLFHVRUDFKDULWDEOHFRQWULEXWLRQE\XVHRIRQHRUPRUH
    WHOHSKRQHV
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    DWWRUQH\VDQGWKRVH3HUVRQVLQDFWLYHFRQFHUWRUSDUWLFLSDWLRQZLWKDQ\RIWKHP
   ZKRUHFHLYHDFWXDOQRWLFHRIWKLV2UGHUE\SHUVRQDOVHUYLFHIDFVLPLOHWUDQVPLVVLRQ
   HPDLORURWKHUZLVHZKHWKHUDFWLQJGLUHFWO\RULQGLUHFWO\DUHKHUHE\SUHOLPLQDULO\
   UHVWUDLQHGDQGHQMRLQHGIURPUHTXHVWLQJRUUHFHLYLQJSD\PHQWRUIHHVRU
   FRQVLGHUDWLRQIRUDQ\'HEW5HOLHI3URGXFWRU6HUYLFHEHIRUH
           A.7KH\KDYHQHJRWLDWHGVHWWOHGUHGXFHGRURWKHUZLVHDOWHUHGWKHWHUPVRI
                DWOHDVWRQH'HEWSXUVXDQWWRDVHWWOHPHQWDJUHHPHQW'HEWPDQDJHPHQW
                SODQRURWKHUVXFKYDOLGFRQWUDFWXDODJUHHPHQWH[HFXWHGE\WKH
                FXVWRPHUDQG
           B.7KHFXVWRPHUKDVPDGHDWOHDVWRQHSD\PHQWSXUVXDQWWRWKDW
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   DVVLJQVRIILFHUVDJHQWVVHUYDQWVHPSOR\HHVDQGDWWRUQH\VDQGWKRVH3HUVRQVLQ
   DFWLYHFRQFHUWRUSDUWLFLSDWLRQZLWKDQ\RIWKHPZKRUHFHLYHDFWXDOQRWLFHRIWKLV
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   DFWLQJGLUHFWO\RULQGLUHFWO\LQFRQQHFWLRQZLWKWKHDGYHUWLVLQJPDUNHWLQJ
   SURPRWLRQRIIHULQJIRUVDOHVDOHSHUIRUPDQFHRIDQ\'HEW5HOLHI3URGXFWRU
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    DQ\PDWHULDODVSHFWRIDQ\VHUYLFHSHUIRUPHGE\WKH'HIHQGDQWRUDQ\RWKHUSHUVRQ
    LQFOXGLQJEXWQRWOLPLWHGWR
          $7KHQDWXUHSXUSRVHRUDQ\RWKHUPDWHULDODVSHFWRIDQ\IHHFROOHFWHGE\
              DQ\'HIHQGDQWRUDQ\RWKHUSHUVRQ
          %7KDWDQ\'HIHQGDQWRUDQ\RWKHU3HUVRQZLOORUOLNHO\ZLOOKHOSREWDLQ
              IRUJLYHQHVVRIDQ\ORDQXQGHUDIHGHUDOVWXGHQWORDQIRUJLYHQHVVSURJUDP
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   DFWLQJGLUHFWO\RULQGLUHFWO\LQFRQQHFWLRQZLWKWKHDGYHUWLVLQJPDUNHWLQJ
   SURPRWLRQRIIHULQJIRUVDOHVDOHSHUIRUPDQFHRIDQ\'HEW5HOLHI3URGXFWRU
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   YLRODWLRQVRIWKH01&)$WKH01'73$WKH1&'$$WKH1&765$WKH
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   DWWRUQH\VDQGWKRVH3HUVRQVLQDFWLYHFRQFHUWRUSDUWLFLSDWLRQZLWKDQ\RIWKHP
   ZKRUHFHLYHDFWXDOQRWLFHRIWKLV2UGHUE\SHUVRQDOVHUYLFHIDFVLPLOHWUDQVPLVVLRQ
   HPDLORURWKHUZLVHZKHWKHUDFWLQJGLUHFWO\RULQGLUHFWO\DUHKHUHE\SUHOLPLQDULO\
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    UHFRUGVWKDWUHODWHWRWKHEXVLQHVVSUDFWLFHVRUEXVLQHVVRUSHUVRQDOILQDQFHVRIDQ\
    'HIHQGDQWRURWKHUHQWLW\GLUHFWO\RULQGLUHFWO\XQGHUWKHFRQWURORIDQ\'HIHQGDQW
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    3HUVRQKRVWLQJDQ\,QWHUQHWZHEVLWHIRURURQEHKDOIRIDQ\'HIHQGDQWDQG  
    'HIHQGDQWVDQGWKHLUVXFFHVVRUVDVVLJQVRIILFHUVDJHQWVVHUYDQWVHPSOR\HHV
    LQGHSHQGHQWFRQWUDFWRUVDQGDWWRUQH\VDQGWKRVH3HUVRQVLQDFWLYHFRQFHUWRU
    SDUWLFLSDWLRQZLWKDQ\RIWKHPZKRUHFHLYHDFWXDOQRWLFHRIWKLVRUGHUE\SHUVRQDO
   VHUYLFHIDFVLPLOHWUDQVPLVVLRQHPDLORURWKHUZLVHZKHWKHUDFWLQJGLUHFWO\RU
   WKURXJKDQ\FRUSRUDWLRQVXEVLGLDU\GLYLVLRQRURWKHUGHYLFHVKDOO
         $3UHYHQWWKHGHVWUXFWLRQRUHUDVXUHRIDQ\,QWHUQHWZHEVLWHXVHGE\
             'HIHQGDQWVIRUWKHDGYHUWLVLQJPDUNHWLQJSURPRWLRQRIIHULQJIRUVDOH
             VDOHRUSHUIRUPDQFHRIDQ\'HEW5HOLHI6HUYLFHE\SUHVHUYLQJVXFK
             ZHEVLWHLQWKHIRUPDWLQZKLFKLWLVPDLQWDLQHGFXUUHQWO\DQG
         %,PPHGLDWHO\QRWLI\3ODLQWLIIV¶FRXQVHOLQZULWLQJRIDQ\RWKHU,QWHUQHW
             ZHEVLWHRSHUDWHGRUFRQWUROOHGE\DQ\'HIHQGDQW
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   H[WHQWQRWDOUHDG\GRQHVRSXUVXDQWWRWKH752DQ\GRPDLQQDPHUHJLVWUDUVKDOO
   SURYLGHLPPHGLDWHQRWLFHWR3ODLQWLIIV¶FRXQVHORIDQ\,QWHUQHWGRPDLQQDPHV
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    WKHPZKRUHFHLYHDFWXDOQRWLFHRIWKLV2UGHUE\SHUVRQDOVHUYLFHIDFVLPLOHHPDLO
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              K\SRWKHFDWLQJGLVEXUVLQJJLIWLQJFRQYH\LQJHQFXPEHULQJSOHGJLQJ
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          &,QFXUULQJFKDUJHVRUFDVKDGYDQFHVRQDQ\FUHGLWFDUGVWRUHGYDOXHFDUG
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              FRUSRUDWLRQSDUWQHUVKLSRURWKHUHQWLW\GLUHFWO\RULQGLUHFWO\RZQHG
              PDQDJHGRUFRQWUROOHGE\DQ\'HIHQGDQW
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              'HIHQGDQWVIURPRSHQLQJQHZEDQNRUFUHGLWFDUGDFFRXQWVVRORQJDV
              VXFKDFFRXQWVDUHIXQGHGRQO\ZLWKPRQLHVQRWDWWULEXWDEOHWRWKH
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              ,QGLYLGXDO'HIHQGDQWVFRQWHPSRUDQHRXVO\QRWLI\WKH5HFHLYHUDQGWKH
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             K\SRWKHFDWLRQHQFXPEUDQFHGLVEXUVHPHQWGLVVLSDWLRQFRQYHUVLRQVDOH
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            VXEVHFWLRQVKDOOQRWOLPLWWKH5HFHLYHU¶VDFFHVVWRVXFKSODFHVQRUVKDOO
            LWOLPLWWKH&KDSWHU7UXVWHH¶VDFFHVVWRVXFKSODFHVLQVRIDUDVLWUHODWHV
            WRSURSHUW\LQWHUHVWVRI&RQVXPHU$GYRFDF\&HQWHU,QFGED3UHPLHU
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                 WKHLGHQWLILFDWLRQRIHDFKDFFRXQWRU$VVHWWLWOHGLQWKHQDPH
                   LQGLYLGXDOO\RUMRLQWO\RUKHOGRQEHKDOIRIRUIRUWKHEHQHILWRI
                   VXEMHFWWRZLWKGUDZDOE\VXEMHFWWRDFFHVVRUXVHE\RUXQGHUWKH
                   VLJQDWRU\SRZHURIDQ\'HIHQGDQWRURWKHUSDUW\VXEMHFWWR6HFWLRQ
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                   YDOXHRIVXFK$VVHWDVRIWKHFORVHRIEXVLQHVVRQWKHGD\RQ
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             XQGHUWKHH[FOXVLYHFRQWURORIWKH&KDSWHU7UXVWHHLQWKH%DQNUXSWF\
             3URFHHGLQJ)XUWKHUWKLV6HFWLRQGRHVQRWSURKLELWWUDQVIHUVWRWKH
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            ,QVWLWXWLRQEURNHUDJHEXVLQHVVHQWLW\(OHFWURQLF'DWD+RVWRU3HUVRQ
            VHUYHGZLWKDFRS\RIWKLV2UGHUWKDWKROGVFRQWUROVRUPDLQWDLQV
            FXVWRG\RIDQ\DFFRXQW'RFXPHQWRU$VVHWRIRQEHKDOIRILQWKHQDPH
            RIIRUWKHEHQHILWRIVXEMHFWWRDFFHVVRUXVHE\RUXQGHUWKHVLJQDWRU\
            SRZHURIDQ\'HIHQGDQWRUSDUW\VXEMHFWWR6HFWLRQ9, $VVHW)UHH]H 
            DERYHRUKDVKHOGFRQWUROOHGRUPDLQWDLQHGDQ\VXFKDFFRXQW
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             GLUHFWWKHRSHUDWLRQVRIHDFK5HFHLYHUVKLS'HIHQGDQWDQG5HOLHI
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         ')RUHDFK5HFHLYHUVKLS'HIHQGDQW,QGLYLGXDO'HIHQGDQWDQG5HOLHI
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              WUXVWRURWKHUHQWLW\WKDWLVGLUHFWO\RULQGLUHFWO\RZQHGPDQDJHGRU
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    LQGLUHFWO\ZKLFKPD\UHVXOWLQWKHKLQGUDQFHRIWKHUHSDWULDWLRQUHTXLUHGE\6HFWLRQ
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              HQWLW\WKDWD³GXUHVV´HYHQWKDVRFFXUUHGXQGHUWKHWHUPVRIDIRUHLJQ
              WUXVWDJUHHPHQWXQWLOVXFKWLPHWKDWDOO$VVHWVKDYHEHHQIXOO\UHSDWULDWHG
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         %1RWLI\LQJDQ\WUXVWHHSURWHFWRURURWKHUDJHQWRIDQ\IRUHLJQWUXVWRU
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    YHQWXUHVROHSURSULHWRUVKLSRUFRUSRUDWLRQZLWKRXWILUVWSURYLGLQJ3ODLQWLIIV¶
    FRXQVHODQGWKH5HFHLYHUZLWKDZULWWHQVWDWHPHQWGLVFORVLQJ  WKHQDPHRIWKH
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   IXOOSRZHURIDQHTXLW\UHFHLYHU7KH5HFHLYHUVKDOOVROHO\EHWKHDJHQWRIWKLV
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   GLUHFWO\WRWKLV&RXUW7KH5HFHLYHUVKDOOFRPSO\ZLWKDOOODZVDQG/RFDO5XOHVRI
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              5HFHLYHUGHHPVQHFHVVDU\RUDGYLVDEOHDQ\GLUHFWRURIILFHULQGHSHQGHQW
              FRQWUDFWRUHPSOR\HHDWWRUQH\RUDJHQWRIDQ\RIWKH5HFHLYHUVKLS
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              5HFHLYHUVKLS'HIHQGDQWV
          %7DNHH[FOXVLYHFXVWRG\FRQWURODQGSRVVHVVLRQRIDOO$VVHWVDQG
              'RFXPHQWVRIRULQWKHSRVVHVVLRQFXVWRG\RUXQGHUWKHFRQWURORIWKH
              5HFHLYHUVKLS'HIHQGDQWVZKHUHYHUVLWXDWHG7KH5HFHLYHUZLOODVVXPH
              FRQWURORYHUWKHLQFRPHDQGSURILWVWKHUHIURPDQGDOOVXPVRIPRQH\QRZ
              RUKHUHDIWHUGXHRURZLQJWRWKH5HFHLYHUVKLS'HIHQGDQWV7KH5HFHLYHU
              VKDOOKDYHIXOOSRZHUWRGLYHUWPDLODQGWRVXHIRUFROOHFWUHFHLYHWDNH

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             LQWRSRVVHVVLRQKROGDQGPDQDJHDOO$VVHWVDQG'RFXPHQWVRIWKH
             5HFHLYHUVKLS'HIHQGDQWVDQGRWKHU3HUVRQVZKRVHLQWHUHVWVDUHQRZKHOG
             E\RUXQGHUWKHGLUHFWLRQSRVVHVVLRQFXVWRG\RUFRQWURORIWKH
             5HFHLYHUVKLS'HIHQGDQWVProvided, however,KRZHYHUWKDWWKH5HFHLYHU
             ZLOOQRWDWWHPSWWRFROOHFWRUUHFHLYHDQ\DPRXQWIURPD&RQVXPHULIWKH
             5HFHLYHURU3ODLQWLIIVEHOLHYHVWKH&RQVXPHUZDVDYLFWLPRIWKH
             XQODZIXOFRQGXFWDOOHJHGLQWKHFRPSODLQWLQWKLVPDWWHU
          &7DNHDOOVWHSVQHFHVVDU\WRVHFXUHWKHEXVLQHVVSUHPLVHVRIWKH
             5HFHLYHUVKLS'HIHQGDQWV6XFKVWHSVPD\LQFOXGHEXWDUHQRWOLPLWHGWR
            WKHIROORZLQJDVWKH5HFHLYHUGHHPVQHFHVVDU\RUDGYLVDEOH
                VHUYLQJDQGILOLQJWKLV2UGHU
                FRPSOHWLQJDZULWWHQLQYHQWRU\RIDOO5HFHLYHUVKLS$VVHWV
                REWDLQLQJSHUWLQHQWLQIRUPDWLRQIURPDOOHPSOR\HHVDQGRWKHU
                  DJHQWVRIWKH5HFHLYHUVKLS'HIHQGDQWVLQFOXGLQJEXWQRWOLPLWHG
                  WRWKHQDPHKRPHDGGUHVVVRFLDOVHFXULW\QXPEHUMRE
                  GHVFULSWLRQPHWKRGRIFRPSHQVDWLRQDQGDOODFFUXHGDQGXQSDLG
                  FRPPLVVLRQVDQGFRPSHQVDWLRQRIHDFKVXFKHPSOR\HHRUDJHQW
                  DQGDOOFRPSXWHUKDUGZDUHDQGVRIWZDUHSDVVZRUGV
                YLGHRWDSLQJRUSKRWRJUDSKLQJDOOSRUWLRQVRIVXFKEXVLQHVV
                  SUHPLVHV
                VHFXULQJWKHORFDWLRQE\FKDQJLQJWKHORFNVDQGDODUPFRGHVDQG
                  GLVFRQQHFWLQJDQ\LQWHUQHWDFFHVVRURWKHUPHDQVRIDFFHVVWRWKH
                  FRPSXWHUVVHUYHUVLQWHUQDOQHWZRUNVRURWKHUUHFRUGVPDLQWDLQHG
                  DWWKDWORFDWLRQ
                UHTXLULQJDQ\3HUVRQVSUHVHQWRQWKHSUHPLVHVDWWKHWLPHWKLV
                  2UGHULVVHUYHGWROHDYHWKHSUHPLVHVWRSURYLGHWKH5HFHLYHUZLWK
                  SURRIRILGHQWLILFDWLRQRUWRGHPRQVWUDWHWRWKHVDWLVIDFWLRQRIWKH
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                   5HFHLYHUWKDWVXFK3HUVRQVDUHQRWUHPRYLQJIURPWKHSUHPLVHV
                   'RFXPHQWVRU$VVHWVRIWKH5HFHLYHUVKLS'HIHQGDQWV
                 UHTXLULQJDOOHPSOR\HHVLQGHSHQGHQWFRQWUDFWRUVDQGFRQVXOWDQWV
                   RIWKH5HFHLYHUVKLS'HIHQGDQWVWRFRPSOHWHDTXHVWLRQQDLUH
                   VXEPLWWHGE\WKH5HFHLYHUDQG
          '&RQVHUYHKROGDQGPDQDJHDOO5HFHLYHUVKLS'HIHQGDQWV¶$VVHWVDQG
             SHUIRUPDOODFWVQHFHVVDU\RUDGYLVDEOHWRSUHVHUYHWKHYDOXHRIWKRVH
             $VVHWVLQRUGHUWRSUHYHQWDQ\LUUHSDUDEOHORVVGDPDJHRULQMXU\WR
             &RQVXPHUVRUWRFUHGLWRUVRIWKH5HFHLYHUVKLS'HIHQGDQWVLQFOXGLQJEXW
            QRWOLPLWHGWRREWDLQLQJDQDFFRXQWLQJRIWKH$VVHWVDQGSUHYHQWLQJ
            WUDQVIHUZLWKGUDZDORUPLVDSSOLFDWLRQRI$VVHWV
         ( /LTXLGDWHDQ\DQGDOOVHFXULWLHVRUFRPPRGLWLHVRZQHGE\RUIRUWKH
            EHQHILWRIWKH5HFHLYHUVKLS'HIHQGDQWVDVWKH5HFHLYHUGHHPVWREH
            DGYLVDEOHRUQHFHVVDU\
         ) 7DNHDOOVWHSVQHFHVVDU\WRSUHYHQWWKHPRGLILFDWLRQGHVWUXFWLRQRU
            HUDVXUHRIDQ\ZHESDJHRUZHEVLWHUHJLVWHUHGWRDQGRSHUDWHGLQZKROH
            RULQSDUWE\DQ\'HIHQGDQWDQGWRSURYLGHDFFHVVWRDOOVXFKZHESDJH
            RUZHEVLWHVWR3ODLQWLIIV¶UHSUHVHQWDWLYHVDJHQWVDQGDVVLVWDQWVDVZHOODV
            'HIHQGDQWVDQGWKHLUUHSUHVHQWDWLYHV
         *(QWHULQWRFRQWUDFWVDQGSXUFKDVHLQVXUDQFHDVWKH5HFHLYHUGHHPVWREH
            DGYLVDEOHRUQHFHVVDU\
         +3UHYHQWWKHLQHTXLWDEOHGLVWULEXWLRQRI$VVHWVDQGGHWHUPLQHDGMXVWDQG
            SURWHFWWKHLQWHUHVWVRI&RQVXPHUVDQGFUHGLWRUVZKRKDYHWUDQVDFWHG
            EXVLQHVVZLWKWKH5HFHLYHUVKLS'HIHQGDQWV
         , 0DQDJHDQGDGPLQLVWHUWKHEXVLQHVVRIWKH5HFHLYHUVKLS'HIHQGDQWVXQWLO
            IXUWKHURUGHURIWKLV&RXUWE\SHUIRUPLQJDOOLQFLGHQWDODFWVWKDWWKH
            5HFHLYHUGHHPVWREHDGYLVDEOHRUQHFHVVDU\ZKLFKLQFOXGHVUHWDLQLQJ
            KLULQJRUGLVPLVVLQJDQ\HPSOR\HHVLQGHSHQGHQWFRQWUDFWRUVRUDJHQWV

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          - &KRRVHHQJDJHDQGHPSOR\DWWRUQH\VDFFRXQWDQWVDSSUDLVHUVDQGRWKHU
             LQGHSHQGHQWFRQWUDFWRUVDQGWHFKQLFDOVSHFLDOLVWVDVWKH5HFHLYHUGHHPV
             DGYLVDEOHRUQHFHVVDU\LQWKHSHUIRUPDQFHRIGXWLHVDQGUHVSRQVLELOLWLHV
             XQGHUWKHDXWKRULW\JUDQWHGE\WKLV2UGHU
          .0DNHSD\PHQWVDQGGLVEXUVHPHQWVIURPWKH5HFHLYHUVKLS'HIHQGDQWV¶
             HVWDWHWKDWDUHQHFHVVDU\RUDGYLVDEOHIRUFDUU\LQJRXWWKHGLUHFWLRQVRIRU
             H[HUFLVLQJWKHDXWKRULW\JUDQWHGE\WKLV2UGHU7KH5HFHLYHUVKDOODSSO\
             WRWKH&RXUWIRUSULRUDSSURYDORIDQ\SD\PHQWRIDQ\'HEWRUREOLJDWLRQ
             LQFXUUHGE\WKH5HFHLYHUVKLS'HIHQGDQWVSULRUWRWKHGDWHRIHQWU\RIWKLV
            2UGHUH[FHSWSD\PHQWVWKDWWKH5HFHLYHUGHHPVQHFHVVDU\RUDGYLVDEOH
            WRVHFXUH$VVHWVRIWKH5HFHLYHUVKLS'HIHQGDQWVVXFKDVUHQWDO
            SD\PHQWV
         / 'HWHUPLQHDQGLPSOHPHQWPHDVXUHVWRHQVXUHWKDWWKH5HFHLYHUVKLS
            'HIHQGDQWVFRPSO\ZLWKDQGSUHYHQWYLRODWLRQVRIWKLV2UGHUDQGDOO
            RWKHUDSSOLFDEOHODZVLQFOXGLQJEXWQRWOLPLWHGWRLIDSSURSULDWH
            UHYLVLQJVDOHVPDWHULDOVDQGLPSOHPHQWLQJPRQLWRULQJSURFHGXUHV
         0,QVWLWXWHFRPSURPLVHDGMXVWDSSHDULQLQWHUYHQHLQRUEHFRPHSDUW\WR
            VXFKDFWLRQVRUSURFHHGLQJVLQVWDWHIHGHUDORUIRUHLJQFRXUWVWKDWWKH
            5HFHLYHUGHHPVQHFHVVDU\DQGDGYLVDEOHWRSUHVHUYHRUUHFRYHUWKH$VVHWV
            RIWKH5HFHLYHUVKLS'HIHQGDQWVRUWKDWWKH5HFHLYHUGHHPVQHFHVVDU\DQG
            DGYLVDEOHWRFDUU\RXWWKH5HFHLYHU¶VPDQGDWHXQGHUWKLV2UGHULQFOXGLQJ
            EXWQRWOLPLWHGWRDFWLRQVFKDOOHQJLQJIUDXGXOHQWRUYRLGDEOHWUDQVIHUV
            provided, howeverWKDWWKH5HFHLYHUVKDOOQRWDWWHPSWWRFROOHFWDQ\
            DPRXQWIURPDFRQVXPHULIWKH5HFHLYHUEHOLHYHVWKHFRQVXPHU¶VOLDELOLW\
            WRWKH5HFHLYHUVKLS(QWLWLHVKDVUHVXOWHGIURPWKHYLRODWLRQVRIODZ
            DOOHJHGLQWKH&RPSODLQWLQWKLVPDWWHUZLWKRXWSULRU&RXUWDSSURYDO
         1'HIHQGFRPSURPLVHDGMXVWRURWKHUZLVHGLVSRVHRIDQ\RUDOODFWLRQVRU
            SURFHHGLQJVLQVWLWXWHGLQWKHSDVWRULQWKHIXWXUHDJDLQVWWKH5HFHLYHULQ

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             KLVRUKHUUROHDV5HFHLYHURUDJDLQVWWKH5HFHLYHUVKLS'HIHQGDQWVWKDW
             WKH5HFHLYHUGHHPVQHFHVVDU\DQGDGYLVDEOHWRSUHVHUYHWKH$VVHWVRIWKH
             5HFHLYHUVKLS'HIHQGDQWVRUWKDWWKH5HFHLYHUGHHPVQHFHVVDU\DQG
             DGYLVDEOHWRFDUU\RXWWKH5HFHLYHU¶VPDQGDWHXQGHUWKLV2UGHU
          2&RQWLQXHDQGFRQGXFWWKHEXVLQHVVRIWKH5HFHLYHUVKLS'HIHQGDQWVLQ
             VXFKPDQQHUWRVXFKH[WHQWDQGIRUVXFKGXUDWLRQDVWKH5HFHLYHUPD\LQ
             JRRGIDLWKGHHPWREHQHFHVVDU\RUDSSURSULDWHWRRSHUDWHWKHEXVLQHVV
             SURILWDEO\DQGODZIXOO\LIDWDOOprovided, howeverWKDWWKHFRQWLQXDWLRQ
             DQGFRQGXFWRIWKHEXVLQHVVVKDOOEHFRQGLWLRQHGXSRQWKH5HFHLYHU¶V
            JRRGIDLWKGHWHUPLQDWLRQWKDWWKHEXVLQHVVHVFDQEHODZIXOO\RSHUDWHGDWD
            SURILWXVLQJWKH$VVHWVRIWKH5HFHLYHUVKLS'HIHQGDQWV¶HVWDWH
         3 7DNHGHSRVLWLRQVDQGLVVXHVXESRHQDVWRREWDLQ'RFXPHQWVDQGUHFRUGV
            SHUWDLQLQJWRWKHUHFHLYHUVKLSHVWDWHDQGFRPSOLDQFHZLWKWKLV2UGHU
            6XESRHQDVPD\EHVHUYHGE\DJHQWVRUDWWRUQH\VRIWKH5HFHLYHUDQGE\
            DJHQWVRIDQ\SURFHVVVHUYHUUHWDLQHGE\WKH5HFHLYHU
         42SHQRQHRUPRUHEDQNDFFRXQWVDVGHVLJQDWHGGHSRVLWRULHVIRUIXQGVRI
            WKH5HFHLYHUVKLS'HIHQGDQWV7KH5HFHLYHUVKDOOGHSRVLWDOOIXQGVRIWKH
            5HFHLYHUVKLS'HIHQGDQWVLQVXFKDGHVLJQDWHGDFFRXQWDQGVKDOOPDNHDOO
            SD\PHQWVDQGGLVEXUVHPHQWVIURPWKHUHFHLYHUVKLSHVWDWHIURPVXFK
            DFFRXQW V 
         50DLQWDLQDFFXUDWHUHFRUGVRIDOOUHFHLSWVDQGH[SHQGLWXUHVWKDWPDGHDV
            5HFHLYHU
         6 &RRSHUDWHZLWKUHDVRQDEOHDQGODZIXOUHTXHVWVIRULQIRUPDWLRQRU
            DVVLVWDQFHIURPDQ\VWDWHRUIHGHUDOODZHQIRUFHPHQWDJHQF\
         7 ,IWKH5HFHLYHULGHQWLILHVDQRQSDUW\HQWLW\DVD5HFHLYHUVKLS(QWLW\
            SURPSWO\QRWLI\WKHHQWLW\DVZHOODVWKHSDUWLHVDQGLQIRUPWKHHQWLW\WKDW
            LWFDQFKDOOHQJHWKH5HFHLYHU¶VGHWHUPLQDWLRQE\ILOLQJDPRWLRQZLWKWKH
            &RXUW3URYLGHGKRZHYHUWKDWWKH5HFHLYHUPD\GHOD\SURYLGLQJVXFK

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              QRWLFHXQWLOWKH5HFHLYHUKDVHVWDEOLVKHGFRQWURORIWKHQRQSDUW\HQWLW\
              DQGLWV$VVHWVDQGUHFRUGVLIWKH5HFHLYHUGHWHUPLQHVWKDWQRWLFHWRWKH
              HQWLW\PD\UHVXOWLQWKHGHVWUXFWLRQRIUHFRUGVGLVVLSDWLRQRI$VVHWVRU
              DQ\RWKHUREVWUXFWLRQRIWKH5HFHLYHU¶VFRQWURORIWKHHQWLW\
          80DLQWDLQWKHFKDLQRIFXVWRG\RIDOORI'HIHQGDQWV¶UHFRUGVLQWKHLU
              SRVVHVVLRQ
          91RWLI\DOOFRXUWVLQZKLFK5HFHLYHUVKLS'HIHQGDQWVKDYHOLWLJDWLRQ
              SHQGLQJWKDWWKLVFDVHLVSHQGLQJDQGUHTXHVWWHPSRUDU\VWD\VZKHUH
              DSSURSULDWHRIWKRVHFDVHVRUDQ\RWKHUQHFHVVDU\UHOLHIWRSUHVHUYHWKH
             ULJKWVRI&RQVXPHUVDQG
         :,ILQWKH5HFHLYHU¶VMXGJPHQWWKHEXVLQHVVRSHUDWLRQVFDQQRWEHFRQWLQXHG
             OHJDOO\DQGSURILWDEO\WDNHDOOVWHSVQHFHVVDU\WRHQVXUHWKDWDQ\RIWKH
             5HFHLYHUVKLS(QWLWLHV¶ZHESDJHVRUZHEVLWHVUHODWLQJWRWKHDFWLYLWLHV
             DOOHJHGLQWKH&RPSODLQWFDQQRWEHDFFHVVHGE\WKHSXEOLFRUDUH
             PRGLILHGVROHO\IRUFRQVXPHUHGXFDWLRQDQGRULQIRUPDWLRQDOSXUSRVHV
             DQGWDNHDOOVWHSVQHFHVVDU\WRHQVXUHWKDWDQ\WHOHSKRQHQXPEHUV
             DVVRFLDWHGZLWKWKH5HFHLYHUVKLS(QWLWLHVFDQQRWEHDFFHVVHGE\WKH
             SXEOLFRUDUHDQVZHUHGVROHO\WRSURYLGHFRQVXPHUHGXFDWLRQRU
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   752WKDW3ODLQWLIIVWKH5HFHLYHUDQGWKHLUUHVSHFWLYHUHSUHVHQWDWLYHVDJHQWV
   FRQWUDFWRUVRUDVVLVWDQWVDQGWKH&KDSWHU7UXVWHHDVLWUHODWHVWRSURSHUW\RIWKH
   %DQNUXSWF\(VWDWHDUHJUDQWHGFRQWLQXHGDFFHVVWRWKH5HFHLYHUVKLS'HIHQGDQWV¶
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             DQGWKHLUVXFFHVVRUVDVVLJQVRIILFHUVDJHQWVGLUHFWRUVVHUYDQWV
             HPSOR\HHVVDOHVSHUVRQVLQGHSHQGHQWFRQWUDFWRUVDWWRUQH\VDQG
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             SDUWLFLSDWLRQZLWKWKHPZKRUHFHLYHDFWXDOQRWLFHRIWKLV2UGHUE\
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                   DQ\PHGLXPLQFOXGLQJEXWQRWOLPLWHGWR(OHFWURQLFDOO\6WRUHG
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             LQGLUHFWO\LQZKROHRULQSDUWXQGHUWKHLUFRQWURODQGDOORWKHU3HUVRQVLQ
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                  VWDWHPHQWVDSSRLQWPHQWERRNVFRSLHVRIIHGHUDOVWDWHRUORFDO
                  EXVLQHVVRUSHUVRQDOLQFRPHRUSURSHUW\WD[UHWXUQVSKRWRJUDSKV
                  PRELOHGHYLFHVHOHFWURQLFVWRUDJHPHGLDDFFHVVRULHVDQGDQ\
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                   LQIRUPDWLRQUHTXHVWHGE\WKH5HFHLYHULQFRQQHFWLRQZLWK
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    EXWQRWOLPLWHGWR)LQDQFLDO,QVWLWXWLRQVDQG(OHFWURQLF'DWD+RVWVVKDOOWUDQVIHURU
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    SXUVXDQWWRWKLV2UGHUDQGIRUWKHFRVWRIDFWXDORXWRISRFNHWH[SHQVHVLQFXUUHG
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    D SUHYHQWDQ\GLPLQXWLRQLQWKHYDOXHRIDVVHWVRIWKH5HFHLYHUVKLS'HIHQGDQWV
    E SXUVXHUHFHLYHUVKLSDVVHWVIURPWKLUGSDUWLHVDQG F DGMXVWWKHOLDELOLWLHVRIWKH
   5HFHLYHUVKLS'HIHQGDQWVLIDSSURSULDWH  WKH5HFHLYHU¶VDVVHVVPHQWRIZKHWKHU
   WKHEXVLQHVVFDQEHRSHUDWHGLQFRPSOLDQFHZLWKWKLV2UGHUDQG  DQ\RWKHU
   PDWWHUVWKDWWKH5HFHLYHUEHOLHYHVVKRXOGEHEURXJKWWRWKH&RXUW¶VDWWHQWLRQ
   3URYLGHGKRZHYHUWKDWLIDQ\RIWKHUHTXLUHGLQIRUPDWLRQZRXOGKLQGHUWKH
   5HFHLYHU¶VDELOLW\WRSXUVXHUHFHLYHUVKLSDVVHWVWKHSRUWLRQVRIWKH5HFHLYHU¶V
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    UHSRUWFRQWDLQLQJVXFKLQIRUPDWLRQPD\EHILOHGXQGHUVHDODQGQRWVHUYHGRQWKH
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    WXUQHGRYHUWRWKH&KDSWHU7UXVWHHDVVRRQDVLWLVUHDVRQDEO\SRVVLEOHWRGRVR
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   DFFRXQWDQWVEHDQGDUHKHUHE\DXWKRUL]HGWRUHDVRQDEO\ZLWKGUDZIURPKLVRUKHU
   UHVSHFWLYHDSSRLQWPHQWVRUUHSUHVHQWDWLRQVDQGDSSO\IRUSD\PHQWRIWKHLU
   SURIHVVLRQDOIHHVDQGFRVWVDWDQ\WLPHDIWHUWKHGDWHRIWKLV2UGHUE\VHQGLQJ
   ZULWWHQQRWLFHVHYHQGD\VSULRUWRWKHGDWHRIWKHLQWHQGHGZLWKGUDZDOWRWKH&RXUW
   DQGWRWKHSDUWLHVDORQJZLWKDZULWWHQUHSRUWUHIOHFWLQJWKH5HFHLYHU¶VZRUN
   ILQGLQJVDQGUHFRPPHQGDWLRQVDVZHOODVDQDFFRXQWLQJIRUDOOIXQGVDQG$VVHWV
   LQSRVVHVVLRQRUFRQWURORIWKH5HFHLYHU7KH5HFHLYHUVKDOOEHH[RQHUDWHGDQGWKH
   UHFHLYHUVKLSGHHPHGFORVHGVHYHQGD\VIURPWKHGDWHRIWKHPDLOLQJRIVXFKQRWLFH
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   UHSRUWDQGDFFRXQWLQJVXEPLWWHGE\WKH5HFHLYHUDQGWKHSURIHVVLRQDOV7KH
   ZULWWHQQRWLFHVKDOOLQFOXGHDQLQWHULPUHSRUWLQGLFDWLQJWKH5HFHLYHU¶VDFWLRQVDQG
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    RUDQ\RWKHUSHUVRQE\UHDVRQRIDQ\DFWSHUIRUPHGRURPLWWHGWREHSHUIRUPHGE\
    WKH5HFHLYHUDQGWKHSURIHVVLRQDOVLQFRQQHFWLRQZLWKWKHGLVFKDUJHRIKLVRUKHU
    GXWLHVDQGUHVSRQVLELOLWLHVLQFOXGLQJEXWQRWOLPLWHGWRWKHLUZLWKGUDZDOIURPWKH
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    VXFFHVVRUVDVVLJQVRIILFHUVDJHQWVVHUYDQWVHPSOR\HHVDQGDWWRUQH\VDQGDOO
   RWKHU3HUVRQVLQDFWLYHFRQFHUWRUSDUWLFLSDWLRQZLWKDQ\RIWKHPZKRUHFHLYH
   DFWXDOQRWLFHRIWKLV2UGHUE\SHUVRQDOVHUYLFHRURWKHUZLVHDUHSUHOLPLQDULO\
   UHVWUDLQHGDQGHQMRLQHGIURPGLVFORVLQJXVLQJRUEHQHILWWLQJIURP&RQVXPHU
   LQIRUPDWLRQLQFOXGLQJWKHQDPHDGGUHVVWHOHSKRQHQXPEHUHPDLODGGUHVVVRFLDO
   VHFXULW\QXPEHURWKHULGHQWLI\LQJLQIRUPDWLRQRUDQ\GDWDWKDWHQDEOHVDFFHVVWRD
   &RQVXPHU¶VDFFRXQW LQFOXGLQJDFUHGLWFDUGEDQNDFFRXQWRURWKHUILQDQFLDO
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             DXWKRUL]HGDJHQWVDFWLQJLQWKHLUFDSDFLWLHVDVVXFK6XFKKHUHE\VWD\HG
             DFWLRQVLQFOXGHEXWDUHQRWOLPLWHGWRWKHIROORZLQJ
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                  DWWDFKPHQWVJDUQLVKPHQWVVXESRHQDVZULWVRIUHSOHYLQZULWVRI
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                   LQFOXGLQJWKHLVVXDQFHRIHPSOR\PHQWRISURFHVVDJDLQVWWKH
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                   WRIRUHFORVHIRUIHLWDOWHURUWHUPLQDWHDQ\LQWHUHVWLQDQ\$VVHWRI
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             ORFDWLRQVWDWXVDQGH[WHQWRI$VVHWVRI'HIHQGDQWVRUWKHLUDIILOLDWHVRU
             VXEVLGLDULHV  WKHQDWXUHORFDWLRQDQGLGHQWLW\RISDUWLFLSDQWVLQ
             'HIHQGDQWV¶EXVLQHVVWUDQVDFWLRQVDQGRSHUDWLRQV WKHQDWXUHDQG
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             VXFKGHSRVLWLRQVWDNHQSXUVXDQWWRWKLV6HFWLRQVKDOOQRWEHFRXQWHG
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         EXHIBIT “B”




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28   Attorneys for Plaintiff the People of the State of California

                                                   1

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 1
 2                           UNITED STATES DISTRICT COURT
 3                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 4   Bureau of Consumer Financial          ) Case No: SACV 19-1998-MWF(KSx)
     Protection; State of Minnesota, by its)
 5   Attorney General, Keith Ellison;      )
     State of North Carolina, ex rel.      ) FIRST AMENDED COMPLAINT
 6   Joshua H. Stein, Attorney General;    )
     and The People of The State of        )
 7   California, Michael N. Feuer, Los     )
     Angeles City Attorney,                )
 8                                         )
             Plaintiffs,                   )
 9                                         )
             v.                            )
10                                         )
     Consumer Advocacy Center Inc., d/b/a )
11   Premier Student Loan Center; True     )
     Count Staffing Inc., d/b/a SL Account )
12   Management; Prime Consulting LLC, )
     d/b/a Financial Preparation Services; )
13   TAS 2019 LLC d/b/a Trusted Account )
     Services; Horizon Consultants LLC;    )
14   First Priority LLC d/b/a Priority     )
     Account Management; Albert Kim,       )
15   a/k/a Albert King; Kaine Wen, a/k/a   )
     Wenting Kaine Dai, Wen Ting Dai, and )
16   Kaine Wen Dai; and Tuong Nguyen,      )
     a/k/a Tom Nelson,                     )
17                                         )
            Defendants, and                )
18                                         )
     Infinite Management Corp., f/k/a      )
19   Infinite Management Solutions Inc.;   )
     Hold The Door, Corp.; TN              )
20   Accounting Inc.; Mice and Men         )
     LLC; 1st Generation Holdings, LLC; )
21   Sarah Kim, and Anan Enterprise,       )
     Inc.,                                 )
22                                         )
                                           )
23          Relief Defendants.
24
25                                      INTRODUCTION
26         1.     The Bureau of Consumer Financial Protection (Bureau) brings this action
27   under §§ 1031, 1036(a), 1054, and 1055 of the Consumer Financial Protection Act of
28   2010 (CFPA), 12 U.S.C. §§ 5531, 5536(a), 5564 & 5565; and under and the

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                                    FIRST AMENDED COMPLAINT
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 1   Telemarketing and Consumer Fraud and Abuse Prevention Act (Telemarketing Act), 15
 2   U.S.C. §§ 6101-6108, and its implementing regulation, the Telemarketing Sales Rule
 3   (TSR), 16 C.F.R. Part 310. The Bureau brings this action against the student-loan debt-
 4   relief operation involving Defendants Consumer Advocacy Center Inc., d/b/a Premier
 5   Student Loan Center; True Count Staffing Inc., d/b/a SL Account Management; Prime
 6   Consulting LLC, d/b/a Financial Preparation Services (collectively, Student Loan Debt
 7   Relief Companies); Defendants TAS 2019 LLC, d/b/a Trusted Account Services, Horizon
 8   Consultants LLC, and First Priority LLC (collectively, Payment Companies); and
 9   Defendants Albert Kim, Kaine Wen, and Tuong Nguyen (collectively, Individual
10   Defendants) (Student Loan Debt Relief Companies, Payment Companies, and Individual
11   Defendants are referred to, collectively, as Defendants).
12         2.     The State of Minnesota, by its Attorney General, brings this enforcement
13   action to, among other things, obtain temporary, preliminary, and permanent injunctive
14   relief, restitution, and civil penalties for Defendants’ acts or practices in violation of the
15   Minnesota Prevention of Consumer Fraud Act (MNCFA), Minn. Stat. §§ 325F.68-.694;
16   the Minnesota Uniform Deceptive Trade Practices Act (MNDTPA), Minn. Stat.
17   §§ 325D.43-.48; and the Telemarketing Act, 15 U.S.C. §§ 6101-6108, and its
18   implementing regulation, the TSR, 16 C.F.R. Part 310, in connection with Defendants’
19   student-loan debt-relief operation.
20         3.     The State of North Carolina, by its Attorney General, brings this
21   enforcement action to, among other things, obtain temporary, preliminary, and permanent
22   injunctive relief, restitution, and civil penalties for Defendants’ acts or practices in
23   violation of North Carolina’s Debt Adjusting Act, N.C. Gen. Stat. § 14-423, et seq.,
24   (NCDAA); North Carolina’s Unfair and Deceptive Practices Act, N.C. Gen. Stat. § 75-
25   1.1 (NCUDPA); North Carolina’s Telephonic Seller Registration Act, N.C. Gen. Stat. §
26   66-260, et seq. (NCTSRA); and the Telemarketing Act, 15 U.S.C. §§ 6101-6108, and its
27   implementing regulation, the TSR, 16 C.F.R. Part 310, in connection with Defendants’
28   student-loan debt-relief operation.

                                                    3

                                     FIRST AMENDED COMPLAINT
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 1         4.     The People of the State of California (collectively with the States of
 2   Minnesota and North Carolina, “the States”), by and through Michael N. Feuer, Los
 3   Angeles City Attorney, bring this enforcement action to, among other things, obtain
 4   temporary, preliminary, and permanent injunctive relief, restitution, and civil penalties
 5   for Defendants’ acts or practices in violation of California’s Business and Professions
 6   Code section 17200 et seq. (the “Unfair Competition Law,” or “UCL”) and the
 7   Telemarketing Act, 15 U.S.C. §§ 6101-6108, and its implementing regulation, the TSR,
 8   16 C.F.R. Part 310, in connection with student-loan debt-relief operation.
 9         5.     Defendants engaged in an unlawful student-loan debt-relief business that
10   harmed consumers nationwide by charging consumers unlawful advance fees and
11   misrepresenting the terms and conditions of their services.
12         6.     The Bureau and the States bring this action to stop Defendants’ unlawful
13   conduct, obtain relief for harmed consumers, and impose civil money penalties on
14   Defendants for their unlawful actions.
15         7.     The Bureau and the States also bring this action against Infinite Management
16   Corporation, Hold the Door, Corp., TN Accounting Inc., Mice and Men LLC, 1st
17   Generation Holdings, LLC, Sarah Kim, and Anan Enterprise, Inc., as Relief Defendants.
18                                           OVERVIEW
19         8.     From at least 2015 until the filing of this action, Defendants operated a debt-relief
20   enterprise that deceived thousands of federal-student-loan borrowers and collected over
21   $83 million in illegal advance fees, in violation of the TSR, the CFPA, the MNCFA, the
22   MNDTPA, the NCDAA, the NCUDPA, the NCTSRA, and the UCL. Unless otherwise
23   noted, all references to “borrowers” and “consumers” in this Complaint include
24   California, Minnesota, and North Carolina borrowers and consumers.
25         9.     The Student Loan Debt Relief Companies, controlled by the Individual
26   Defendants, purported to help federal-student-loan borrowers obtain loan forgiveness or
27   lower monthly payments through programs administered by the U.S. Department of
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 1   Education (DOE).
 2         10.    In fact, the Student Loan Debt Relief Companies deceived consumers,
 3   including by misrepresenting that consumers would qualify for loan forgiveness in a
 4   matter of months, when forgiveness takes at least 10 years of on-time payments and is
 5   determined by DOE; that consumers were approved for lower monthly payments on their
 6   student loans, when consumers had not yet been approved or when the new payment
 7   amount was approved based on false information; and that consumers’ lower payments
 8   would be permanent when in fact they are subject to change based on changes in the
 9   consumers’ family size, income, and marital status.
10         11.    The Student Loan Debt Relief Companies also falsely told consumers, or led
11   consumers to believe, that the consumers’ payments to the companies would go toward
12   paying consumers’ student loan balances.
13         12.    When describing the services offered to consumers, the Student Loan Debt
14   Relief Companies failed to inform consumers that it was their practice to request that
15   consumers’ loans be placed into forbearance or that interest would continue to accrue
16   during the forbearance period, thereby increasing consumers’ overall loan balances.
17         13.    When describing the services offered to consumers, the Student Loan Debt
18   Relief Companies failed to inform consumers that it was their practice to submit false
19   information about consumers’ income, family size, and marital status on loan adjustment
20   applications in order to try to qualify consumers for lower monthly payments.
21         14.    The Student Loan Debt Relief Companies charged consumers an initial fee
22   of $900-$1,750 for their services. This initial fee was typically levied well before
23   consumers had been accepted to and made a payment under their new loan agreement, in
24   violation of the TSR.
25         15.    At no time did the Student Loan Debt Relief Companies hold consumer
26   payments in independent third-party accounts.
27         16.    At no time did the Student Loan Debt Relief Companies use payments from
28   consumers to make payments toward consumers’ student loan debts.

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 1         17.    The Individual Defendants conducted this operation using a network of
 2   several interrelated companies and over a dozen unregistered and fictitious business
 3   names. The Student Loan Debt Relief Companies operated as a common enterprise
 4   controlled by the Individual Defendants, rendering each jointly and severally liable for
 5   the illegal acts of the Student Loan Debt Relief Companies.
 6                                JURISDICTION AND VENUE
 7         18.    This Court has subject-matter jurisdiction over this action because it is
 8   brought under federal consumer financial law, 12 U.S.C. § 5565(a)(1), presents a federal
 9   question, 28 U.S.C. § 1331, and is brought by an agency of the United States, 28 U.S.C.
10   § 1345. This Court has supplemental jurisdiction over the States’ claims pursuant to 28
11   U.S.C. § 1367.
12         19.    Venue is proper in this district pursuant to 12 U.S.C. § 5564(f) because
13   Defendants are located, reside, or do business in this district.
14                                            PARTIES
15         20.    The Bureau is an independent agency charged with enforcing violations of
16   Federal consumer financial laws. 12 U.S.C. § 5491(a). The Bureau has independent
17   litigating authority, 12 U.S.C. § 5564(a)-(b), including the authority to enforce the
18   CFPA’s prohibitions on unfair, deceptive, and abusive acts or practices, 12 U.S.C.
19   §§ 1031, 1036, and the TSR as it applies to persons subject to the CFPA, 15
20   U.S.C. §§6102(c), 6105(d).
21         21.    The Bureau has authority to bring civil actions against persons violating
22   federal consumer-financial laws and to “seek all appropriate legal and equitable relief
23   including a permanent or temporary injunction as permitted by law.” 12 U.S.C.
24   § 5564(a).
25         22.    Keith Ellison, Attorney General of the State of Minnesota, is authorized
26   under Minnesota Statutes chapter 8; the MNCFA, Minn. Stat. § 325F.69, et seq.; the
27   MNDTPA, Minn. Stat. § 325D.44, et seq.; the Telemarketing Act, 15 U.S.C. § 6103(a);
28   and has common law authority, including parens patriae authority, to bring this action on

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 1   behalf of the State of Minnesota and its citizens to enforce Minnesota law.
 2         23.     The State of North Carolina is acting through its Attorney General Joshua H.
 3   Stein, pursuant to authority granted by Chapters 14, 66, 75, and 114 of the North Carolina
 4   General Statutes, and the Telemarketing Act, 15 U.S.C. § 6103(a).
 5         24.     Michael N. Feuer, City Attorney for the City of Los Angeles, is authorized
 6   under California Business and Professions Code section 17200 et seq. (the “Unfair
 7   Competition Law,” or “UCL”) and the Telemarketing Act, 15 U.S.C. § 6103(a) and
 8   (f)(2), to bring this civil law enforcement action on behalf of the People of the State of
 9   California.
10         25.     Defendant Consumer Advocacy Center Inc. (CAC) is a California
11   corporation formed on August 6, 2014, and it has held itself out as doing business at the
12   following addresses: 173 Technology Drive, Suite 202, Irvine, CA 92618; 29901 Santa
13   Margarita Pkwy, Suite 200F, Rancho Santa Margarita, CA 92688; 8 Hughes Parkway,
14   Irvine, CA 92618; 5350 E Suncrest Rd., Anaheim, CA 92807; and 24852 Acropolis Dr.,
15   Mission Viejo, CA 92691.
16         26.     CAC has held itself out as doing business as Premier Student Loan Center.
17         27.     CAC transacted its student-loan debt-relief business in the Central District of
18   California since at least November 2015.
19         28.     On January 16, 2019, CAC filed for protection under chapter 11 of the
20   Bankruptcy Code in the United States Bankruptcy Court for the Southern District of
21   Florida. See In re Consumer Advocacy Center, Inc., No. 19-10655-BKC-JKO (Bankr.
22   S.D. Fla.).
23         29.     Defendant True Count Staffing Inc. (True Count) registered as a California
24   corporation on February 13, 2017, and it has held itself out as doing business at the
25   following addresses: 173 Technology Dr., Ste 202, Irvine, CA 92618; 777 E. Sierra
26   Madre Ave, Azusa, CA 91702; 8 Hughes Parkway, Irvine, CA 92618; and 7545 Irvine
27   Center Drive, Suite 200, PMB #108, Irvine, CA, 92618.
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 1         30.    True Count has held itself out as doing business as SL Account
 2   Management.
 3         31.    Defendant Prime Consulting LLC (Prime) is a Wyoming limited-liability
 4   company that registered with the California Secretary of State on April 25, 2018, and it
 5   has held itself out as doing business at 11932 Klingerman Street, Suite 3, El Monte, CA,
 6   91732 and 7545 Irvine Center Drive, Suite 200, Room 108, Irvine, CA, 92618.
 7         32.    Prime has held itself out as doing business as Financial Preparation Services.
 8         33.    Defendant TAS 2019 LLC, d/b/a Trusted Account Services (TAS) is a
 9   Wyoming limited liability corporation that has held itself out as doing business at two
10   locations affiliated with companies providing resident agent services in Wyoming, 109 E.
11   17th Street Suite 5656, Cheyenne, WY, 82001, and 30 N Gould Street, Suite R, Sheridan,
12   WY 82801; a rented virtual office address at 17011 Beach Blvd., Suite 900, Huntington
13   Beach, CA 92467; and a residential address affiliated with its purported owner, Kenny
14   Huang, in Arcadia, CA.
15         34.    TAS 2019 LLC’s operations and principal place of business were located in
16   the Central District of California.
17         35.    Defendant Horizon Consultants LLC (Horizon) is a Wyoming limited
18   liability corporation that has been registered to operate in California since October 2018.
19   It has held itself out as doing business at 2522 Chambers Rd Suite 100 Rm 209, Tustin,
20   CA 92780.
21         36.    Defendant First Priority LLC d/b/a Priority Account Management (First
22   Priority) is a Wyoming limited liability corporation that has been registered to operate in
23   California since May 2018. It has held itself out as doing business at 1704 South Granada
24   Ave, Alhambra, CA 91801.
25         37.    Defendant Albert Kim (a/k/a Albert King) is CAC’s primary owner and
26   founder.
27         38.    Kim is a resident of the State of California and performed work for CAC
28   while residing in this jurisdiction.

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 1          39.    Kim exercised substantial control over CAC’s business practices.
 2          40.    Kim exercised managerial responsibility for CAC and participated in the
 3   conduct of its affairs.
 4          41.    Defendant Kaine Wen (a/k/a Wenting Kaine Dai, Wen Ting Dai) is True
 5   Count’s primary owner and founder and has also been an owner and manager of CAC.
 6   Wen incorporated True Count and has served as its chief executive officer, director,
 7   partner, and president.
 8          42.    Wen is a resident of the State of California and performed work for CAC
 9   and True Count while residing in this jurisdiction.
10          43.    Wen exercised substantial control over True Count’s business practices.
11          44.    Wen exercised managerial responsibility for True Count and participated in
12   the conduct of its affairs.
13          45.    Wen exercised managerial responsibility for CAC and participated in the
14   conduct of its affairs.
15          46.    Defendant Tuong Nguyen (a/k/a Tom Nelson) served as CAC’s controller
16   and as True Count’s secretary.
17          47.    Nguyen is a resident of the State of California and performed work for CAC
18   and True Count while residing in this jurisdiction.
19          48.    Nguyen exercised managerial responsibility for CAC and participated in the
20   conduct of its affairs.
21          49.    Nguyen exercised managerial responsibility for True Count and participated
22   in the conduct of its affairs.
23          50.    Relief Defendant Infinite Management Corp., f/k/a Infinite Management
24   Solutions Inc. (Infinite Management) registered as a California corporation on September
25   8, 2016, and it has held itself out as doing business at 9228 City Lights Drive, Aliso
26   Viejo, CA, 92656.
27          51.    Kim served as Infinite Management’s registered agent and president, and he
28   is the sole signatory on a bank account belonging to it.

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 1         52.    Relief Defendant Hold the Door Corp. (Hold the Door) registered as a
 2   California corporation on December 30, 2016, and it listed its address as 777 E. Sierra
 3   Madre Ave, Azusa, CA 91702. It described its business type as “consulting services” in
 4   corporate filings with the California Secretary of State.
 5         53.    Hold the Door was incorporated by Wen, and he has served as its sole
 6   corporate officer.
 7         54.    Relief Defendant TN Accounting Inc. (TN Accounting) is a California
 8   corporation that filed its Articles of Incorporation with the California Secretary of State
 9   on February 8, 2017, and it has listed its principal place of business address of 1704 S.
10   Granada Ave, Alhambra, CA 91801 in corporate filings with the Secretary of State.
11         55.    Nguyen has served as TN Accounting’s president and sole corporate officer.
12         56.    Relief Defendant Mice and Men LLC (Mice and Men) is a Wyoming
13   corporation incorporated in December 2018 that has listed its principal place of business
14   as 30 N. Gould St, Ste R, Sheridan, WY 82801.
15         57.    Registered Agents Inc., is Mice and Men’s registered agent in Wyoming,
16   and is the company that filed the Wyoming articles of organization for Mice and Men.
17   The address for Registered Agents, Inc., is 30 N. Gould St, Ste R, Sheridan, WY 82801.
18         58.    Mice and Men is purportedly owned by Judy Dai, Defendant Wen’s mother,
19   who resides in Monterey Park, CA.
20         59.    Judy Dai was listed with Registered Agents Inc. as the contact person for
21   Mice and Men, using her Monterey Park, CA residence as the mailing address.
22         60.    Invoices from Registered Agents Inc. for services rendered for Mice and
23   Men were billed to Mice and Men, LLC, Judy Dai, at Judy Dai’s Monterey Park, CA
24   residence.
25         61.    Relief Defendant 1st Generation Holdings, LLC (1st Generation) is a
26   Wyoming corporation with its principal place of business in Downey, California.
27         62.    Relief Defendant Sarah Kim is Defendant Kim’s wife. She is a resident of
28   the State of California.

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 1           63.    Relief Defendant Anan Enterprise, Inc. (Anan Enterprise), is a California
 2   corporation that has listed its principal place of business as 2080 E. 25th Street, Vernon,
 3   CA 90058. Anan Enterprise is owned by Defendant Albert Kim’s brother-in-law and
 4   Relief Defendant Sarah Kim’s brother, Kyle Kim.
 5                                              FACTS
 6                     Student Loan Forgiveness and Repayment Programs
 7           64.    DOE administers several federal student-loan repayment programs. Some
 8   potentially offer lower monthly loan payments. Others allow consumers who make the
 9   requisite qualifying payments over a period ranging from 10 to 25 years (and who meet
10   other eligibility criteria) to obtain loan forgiveness.
11           65.    One such program is the income-driven repayment (IDR) program. IDR
12   plans may lower consumers’ monthly payments to more affordable amounts based on the
13   consumers’ income and family size. Consumers enrolled in IDR plans who make
14   qualifying payments may also have their outstanding student-loan balances forgiven after
15   20-25 years.
16           66.    Under another program, the Public Service Loan Forgiveness program,
17   consumers who work full-time for a qualifying public-service employer, make 120
18   qualifying payments, and meet other eligibility criteria, can apply to have their
19   outstanding student-loan balances forgiven after 10 years.
20           67.    Because a borrower’s income and family size can fluctuate over the life of
21   the loan, consumers are required to recertify their eligibility for IDR programs on an
22   annual basis. Variables such as marital status and tax-filing status (single, married filing
23   separately, married filing jointly) may affect how DOE calculates monthly payment
24   amounts. As a result, monthly payments under the IDR programs can vary from year to
25   year.
26                           The Student Loan Debt Relief Companies
27           68.    CAC began offering student-loan debt-relief services purporting to lower
28   consumers’ monthly loan payments and obtain loan forgiveness through enrollment in

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 1   loan forgiveness or IDR plans as early as November 2015.
 2         69.    Initially, CAC’s internal structure included sales, processing, and customer-
 3   service departments.
 4         70.    The sales department fielded incoming consumer calls, made outbound
 5   marketing calls, and enrolled consumers in the Student Loan Debt Relief Companies’
 6   services by providing consumers with contracts for electronic signature during sales calls.
 7         71.    The processing department charged consumers the initial advance fees, and
 8   prepared and submitted forbearance, loan-consolidation, and IDR requests to consumers’
 9   student-loan servicers. The consumer’s student-loan servicer then evaluated the requests.
10         72.    In March 2018, Kim and Wen moved CAC’s processing and customer-
11   service operations into a new entity, True Count.
12         73.    As part of this shift, CAC’s processing and customer-service departments
13   physically moved to a new office location.
14         74.    CAC continued to handle sales, while True Count took over preparing and
15   submitting loan-consolidation and IDR-plan applications and collecting payments from
16   consumers (including from consumers who had enrolled for services with CAC).
17         75.    As early as April 2018, CAC transferred its sales functions to a new entity,
18   Prime, which ultimately assumed CAC’s role as the main sales company enrolling
19   consumers for True Count’s services.
20         76.    The Individual Defendants, through True Count and Prime, set up First
21   Priority, Horizon, and TAS to collect payments from consumers.
22                          Debt Relief Sales and Business Practices
23         77.    The Student Loan Debt Relief Companies marketed their debt-relief services
24   through inbound and outbound calls, websites, social media, and direct mail.
25         78.    When consumers called the front-end sales company (CAC or Prime), the
26   consumer first spoke with a sales representative.
27         79.    Sales representatives instructed consumers on how to create an ID and
28   password for consumers’ online accounts with Federal Student Aid (FSA), an office of

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 1   DOE, if the consumer had not previously done so. The sales representatives then
 2   instructed the consumer to provide the sales representative with the consumer’s FSA ID
 3   and password.
 4         80.    Sales representatives downloaded student-loan data from the consumer’s
 5   online FSA account into the company’s customer–relationship-management system.
 6         81.    Sales representatives often stated that there was an urgent need to sign up for
 7   the respective Student Loan Debt Relief Company’s services.
 8         82.    For example, some sales representatives told consumers that they had a
 9   limited time in which they could apply for an IDR program.
10         83.    At times, sales representatives represented that the respective Student Loan
11   Debt Relief Company was affiliated with DOE.
12                                  Representations about Fees
13         84.    During sales calls, sales representatives made affirmative representations or
14   material omissions about the purpose of the fees paid by consumers to the Student Loan
15   Debt Relief Companies.
16         85.    Sales representatives frequently represented that the fees would be applied to
17   the balance of consumers’ student loans.
18         86.    In fact, all monies paid by the consumers to the Student Loan Debt Relief
19   Companies were fees retained by the companies and were not remitted to student-loan
20   servicers to be applied toward consumers’ loan balances.
21         87.    Sales representatives frequently represented that fees paid to the Student
22   Loan Debt Relief Companies would be the only payments consumers would owe on their
23   student loans after being accepted into a DOE repayment program.
24         88.    In fact, the fees paid to the Student Loan Debt Relief Companies were in
25   addition to, and did not relieve consumers of, their obligation to pay their student loans.
26         89.    Sales representatives frequently represented to consumers that the fees
27   charged by the Student Loan Debt Relief Companies were necessary to participate and
28   remain enrolled in a loan-forgiveness or IDR program.

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 1             90.   In fact, consumers can apply free of charge for loan forgiveness or IDR
 2   programs, either through their student-loan servicer or directly to the DOE.
 3             91.   Moreover, consumers can recertify annually their eligibility to remain
 4   enrolled in their IDR plans through their student-loan servicer for free.
 5                             Representations about Loan Forgiveness
 6             92.   The Student Loan Debt Relief Companies’ sales representatives often told
 7   consumers that they were qualified or approved for loan forgiveness.
 8             93.   Sales representatives frequently represented to consumers that they could get
 9   consumers’ student loans forgiven in whole or in part shortly after enrolling in the
10   respective Student Loan Debt Relief Company’s services.
11             94.   The DOE’s loan forgiveness programs require anywhere from 10-25 years
12   of qualifying payments, as well as satisfaction of other eligibility criteria, to qualify for
13   loan forgiveness.
14             95.   Only the DOE can approve consumers for loan forgiveness.
15             96.   Because only the DOE can approve consumers for loan forgiveness, and
16   only after a consumer makes qualifying monthly payments over a period ranging from 10
17   to 25 years, the Student Loan Debt Relief Companies’ representations to consumers that
18   all or part of their loans would be forgiven upon payment of enrollment fees were false.
19                        Representations about Lower Monthly Payments
20             97.   The Student Loan Debt Relief Companies’ sales representatives often told
21   consumers that they qualified or were approved for a specific lower monthly payment.
22             98.   In fact, the new, lower monthly payment amount identified by sales
23   representatives was often calculated based on an incorrect family size, income, or marital
24   status.
25             99.   Sales representatives often represented that consumers’ lower monthly
26   payment would be in place over the life of the loan.
27             100. In fact, monthly payment amounts are determined by student loan servicers
28   and can fluctuate year to year depending on changes in consumers’ income, family size,

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 1   or marital status, and it is therefore not possible to determine a set monthly payment for
 2   an IDR plan for the life of the loan.
 3        Preparing and Submitting Forbearance Requests and IDR Plan Applications
 4          101. Following an initial sales call, consumers who purchased the Student Loan
 5   Debt Relief Companies’ services were assigned to a company representative called a
 6   “processor.”
 7          102. Processors conducted a “welcome call” during which they typically asked
 8   consumers for proof of income and, at times, verified certain information.
 9          103. Following the welcome call, processors submitted forbearance requests to
10   student-loan servicers on behalf of consumers.
11          104. Processors typically asked for a forbearance period of three months in the
12   forbearance requests they submitted.
13          105. If a servicer approves a forbearance request, the consumer is excused from
14   making his or her monthly student loan payments during the period of forbearance. But
15   interest on the consumer’s student loan accrues during the period of forbearance and may
16   be added to the principal balance.
17          106. Typically, consumers were not informed during sales calls or the welcome
18   call that processors would submit forbearance requests on their behalf.
19          107. Typically, consumers were not informed during sales calls or the welcome
20   call that interest on the consumer’s student loan accrues during the period of forbearance
21   and may be added to the principal balance.
22          108. In fact, most consumers did not ask the Student Loan Debt Relief
23   Companies for forbearance requests, and many consumers were not aware that the
24   Student Loan Debt Relief Companies submitted forbearance requests to their student loan
25   servicers on their behalf.
26          109. Processors signed the forbearance requests in the consumer’s name so that it
27   appeared the request was submitted by the consumer.
28   //

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 1         110. Many consumers were unaware the fees they paid to the Student Loan Debt
 2   Relief Companies were not paying down their student loans.
 3           Submitting Consolidation and IDR Requests with False Information
 4         111. Processors submitted IDR applications to servicers on behalf of consumers
 5   with false information about consumers’ income, family size, or marital status.
 6         112. For consumers who did not provide proof of income to the Student Loan
 7   Debt Relief Companies, processors frequently listed those consumers as unemployed on
 8   their IDR applications, even when the consumers were employed at the time.
 9         113. Processors frequently submitted IDR applications to consumers’ student
10   loan servicers that listed consumers’ family sizes greater than the consumers’ actual
11   family size.
12         114. Processors frequently submitted IDR applications to consumers’ student
13   loan servicers that listed consumers as single, even if the consumer had informed the
14   Student Loan Debt Relief Companies that he or she was married.
15         115. When submitting IDR applications to consumers’ student loan servicers,
16   processors typically changed consumers’ email address to an email address created by the
17   Student Loan Debt Relief Company in order to temporarily divert all email
18   correspondence from the consumer’s student-loan servicer to the Student Loan Debt
19   Relief Company.
20         116. When submitting IDR applications to consumers’ student-loan servicers,
21   processors typically changed consumers’ mailing address to a mailing address used by
22   the Student Loan Debt Relief Company in order to temporarily divert all postal mail from
23   the consumer’s student-loan servicer to the Student Loan Debt Relief Company.
24         117. After receiving confirmation from a consumer’s student loan servicer that a
25   consumer’s loan consolidation or IDR application had been approved, processors
26   typically logged back into the consumer’s loan account and changed the consumers email
27   and mailing address back to the consumer’s actual information.
28   //

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 1           118. The Student Loan Debt Relief Companies’ practice of diverting
 2   correspondence to consumers from the consumers’ student-loan servicers helped conceal
 3   the Student Loan Debt Relief Companies’ practice of submitting false information to
 4   student loan servicers.
 5                  Representations about and Collection of Fees from Consumers
 6           119. The Student Loan Debt Relief Companies typically collected enrollment fees
 7   from consumers before consumers had been approved for a loan consolidation or an IDR
 8   plan.
 9           120. The Student Loan Debt Relief Companies collected monthly fees, typically
10   ranging from $10-$42, before submitting the consumer’s corresponding annual IDR plan
11   recertification.
12           121. At all times material to this Complaint, the Student Loan Debt Relief
13   Companies did not track whether consumers had made an initial payment on an adjusted
14   loan.
15           122.    As early as April 2018, the Student Loan Debt Relief Companies’ contracts
16   began including a section entitled “No Advance Fees.”
17           123. The section of the Student Loan Debt Relief Companies’ contract entitled
18   “No Advance Fees” states that the company “does not take any advance fees from Client”
19   and further provides that consumer fees will be held in an independent third party “trust
20   account” and not paid to the company until the consumer “has received a consolidation,
21   adjustment, or otherwise satisfactory result” and makes one payment “towards such.”
22           124. At all times material to this Complaint, the Student Loan Debt Relief
23   Companies did not use trust accounts to hold fees collected from consumers before
24   placing consumers into loan repayment plans – at no time did the Student Loan Debt
25   Relief Companies hold payments from consumers in accordance with Section
26   310.4(a)(5)(ii) of the TSR.
27           125. Rather, fees collected from consumers by the Student Loan Debt Relief
28   Companies were directly deposited into the companies’ bank accounts and commingled

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 1   with company assets.
 2         126. The Defendants have collected over $83 million in illegal advance fees from
 3   thousands of consumers nationwide.
 4                             Roles of the Individual Defendants
 5         127. Albert Kim (a/k/a Albert King) is CAC’s primary owner and manager.
 6         128. Kim was in the office frequently and helped manage CAC’s and True
 7   Count’s day-to-day operations.
 8         129. Kim oversaw CAC’s marketing.
 9         130. Kim signed CAC’s merchant-account applications or agreements with at
10   least three different payment processors.
11         131. At times, Kim personally responded to consumers’ complaints.
12         132. Kim controlled CAC’s bank accounts, and was an authorized user on CAC’s
13   and True Count’s bank accounts.
14         133. When Kim applied for a merchant account on CAC’s behalf in or about July
15   2017, he agreed to maintain fraud and chargebacks below certain levels.
16         134. Monthly account statements sent to CAC’s corporate address for that
17   merchant account identify tens of thousands of dollars in chargebacks and hundreds of
18   thousands of dollars in consumer refunds between August 2017 and March 2019.
19         135. After CAC filed for bankruptcy, Kim personally generated marketing leads
20   for Prime.
21         136. Kaine Wen served as CAC’s owner, managing partner, and general counsel.
22         137. CAC’s 2016 tax returns and U.K. registration documents list Wen as CAC’s
23   50% owner.
24         138. Wen made capital contributions to CAC in October 2015 that accounted for
25   75% of capital contributions by members at that time.
26         139. Wen participated in the decision to move CAC’s processing functions to
27   True Count.
28         140. Wen personally guaranteed True Count’s lease agreement.

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 1          141. Wen set up payment-processing agreements for True Count.
 2          142. Wen corresponded with payment processors regarding True Count’s
 3   excessive chargeback rates.
 4          143. Wen represented to a payment processor that True Count “understands,
 5   currently fully complies with, and during the term of the Agreement will fully comply
 6   with” the TSR, CFPA, and “all other applicable federal, state, and local laws, rules, and
 7   regulations.”
 8          144. Wen has been an authorized user on CAC’s, Premier Student Loan Center’s,
 9   True Count’s, and Hold the Door’s bank accounts.
10          145. Wen was also a point of contact or signed for at least three merchant
11   accounts for CAC and at least one merchant account for True Count.
12          146. Tuong Nguyen served as the controller and provided accounting services for
13   CAC.
14          147. Nguyen was responsible for paying CAC’s bills, reviewed its bank
15   statements, and was a signatory on several of CAC’s bank accounts.
16          148. At times, Nguyen also responded to consumer complaints, and was listed as
17   a point of contact for CAC’s d/b/a, Premier Student Loan Center, in the Bureau’s
18   consumer-complaint portal.
19          149. True Count identified Nguyen as its secretary in some communications with
20   banks.
21          150. Nguyen was a point of contact for at least two of CAC’s merchant accounts
22   and one of True Count’s merchant accounts.
23          151. In January 2018, Nguyen signed a letter to a payment processor
24   acknowledging CAC had incurred “excessive chargebacks” during “December/2017.”
25          152. Nguyen also acknowledged that the top chargeback reasons included fraud.
26          153. Nguyen incorporated TN Accounting and served as its president and sole
27   corporate officer.
28          154. Nguyen has been a signatory on a bank account held by TN Accounting.

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 1         155. TN Accounting’s primary source of income is over $225,000 from CAC and
 2   True Count from March 2017 through December 2018.
 3         156. Nguyen was also an authorized user on bank accounts held by CAC, Premier
 4   Student Loan Center, and True Count.
 5                              Roles of the Payment Companies
 6         157. The Individual Defendants, True Count, and Prime used TAS, Horizon, and
 7   First Priority to obtain merchant accounts and to collect fees from consumers.
 8         158. In September 2019, the Individual Defendants, True Count, and Prime
 9   transferred customer payment processing to TAS.
10         159. TAS held itself out as an “independent third party” in its contracts with
11   consumers.
12         160. In fact, TAS was not independent of Defendants.
13         161. Rather, TAS was run from within True Count and Prime by the Individual
14   Defendants.
15         162. TAS’s domain credentials (username and password) were stored in an
16   account in Albert Kim’s name.
17         163. The Individual Defendants and the Student Loan Debt Relief Companies
18   controlled TAS’s email system, and the Student Loan Debt Relief Companies’ employees
19   reviewed and responded to consumers’ emails sent to TAS. Defendant Wen executed or
20   acted as TAS’s agent to handle the application necessary for TAS to open a merchant
21   account to process payments from the Student Loan Debt Relief Companies’ consumers.
22   Wen and True Count’s Operations Manager created a fictional employee to interact with
23   True Count’s and Prime’s software provider to promote the appearance of TAS as an
24   entity independent of Defendants.
25         164. Since September 12, 2019, until the date of the temporary restraining order
26   issued by this Court, TAS collected approximately $3 million in payments from
27   consumers.
28   //

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 1         165. The Individual Defendants, True Count, and Prime used Horizon to process
 2   consumers’ payments to the student-loan debt-relief enterprise.
 3         166. Horizon’s incorporation documents list Keneth Hu, an IT professional
 4   employed by the Student Loan Debt Relief Companies, as its Chief Executive Officer and
 5   President.
 6         167. Notwithstanding Mr. Hu’s nominal ownership, Defendants Wen, Nguyen,
 7   True Count, and Prime exercised substantial control over Horizon.
 8         168. Defendant Nguyen was a signatory on a Horizon bank account.
 9         169. Defendant Wen was Horizon’s designated contact on a merchant account.
10         170. Defendant True Count asserts that Horizon holds over $700,000 for its
11   benefit.
12         171. Horizon’s stated business address was leased by Defendant Prime
13   Consulting.
14         172. Horizon applied for at least two merchant accounts to process consumer
15   payments (including any associated chargebacks or refunds) on behalf of the Student
16   Loan Debt Relief Companies.
17         173. Defendants Wen and Nguyen received a finalized payment processor
18   application for a merchant account with Quantum Electronic Payments on Horizon’s
19   behalf.
20         174. Defendant Wen later instructed Hu to sign the application for a merchant
21   account with Quantum Electronic Payments.
22         175. Horizon processed about $9 million in consumer payments through at least
23   one of its payment processor accounts on behalf of the Student Loan Debt Relief
24   Companies.
25         176. The Individual Defendants, True Count, and Prime used First Priority to
26   open merchant accounts to receive consumer payments to the student loan debt relief
27   enterprise.
28   //

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 1          177. The Individual Defendants, True Count, and Prime used First Priority to
 2   obtain and then copy documents, such as agreements and contracts, for use by TAS in the
 3   student-loan debt-relief operation.
 4          178. First Priority’s corporate registration identifies Defendant Nguyen as its
 5   president and sole owner.
 6          179. Defendants Kim and Wen served as contacts on behalf of First Priority for a
 7   payment processor.
 8          180. First Priority’s income in 2018 and 2019 consisted of approximately
 9   $400,000 in transfers from True Count and $150,000 in consumer fees collected through
10   two payment processor accounts on behalf of Prime and True Count.
11        The Student Loan Debt Relief Companies Operated as a Common Enterprise
12          181. CAC, True Count, and Prime shared employees, customers, scripts, and
13   training materials, and they used the same database to store consumers’ information and
14   track aspects of their business activity.
15          182. CAC, True Count, and Prime shared the proceeds of the debt-relief
16   enterprise.
17          183. For example, since April 2018, True Count, acting as the purported “billing
18   department” for CAC and Prime, has transferred at least $12 million to CAC and at least
19   $25 million to Prime.
20          184. CAC lent hundreds of thousands of dollars to True Count without interest or
21   any written agreement.
22          185. CAC stated in a lease guarantee that it had a “financial interest” in True
23   Count.
24          186. CAC guaranteed at least one lease on behalf of Prime Consulting and two
25   leases on behalf of True Count.
26          187. CAC, True Count, and Prime have used overlapping addresses to carry out
27   the debt-relief operation.
28   //

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 1         188. For example, addresses True Count identifies as its business addresses are
 2   also business addresses for CAC, Prime, and Hold the Door.
 3         189. To market their debt-relief services to consumers, CAC, True Count, and
 4   Prime shared over a dozen fictitious names, including but not limited to South Coast
 5   Financial Center, Direct Account Services, Financial Loan Advisors, Account
 6   Preparation Services, Administrative Financial, Tangible Savings Solutions, Coastal
 7   Shores Financial Group, First Choice Financial Centre (a/k/a First Choice Financial
 8   Center), Administrative Account Services, Primary Account Solutions, Prime Document
 9   Services, Financial Accounting Center, Doc Management Solutions, First Priority LLC,
10   ALW Loans Administrative Accounting Center, Best Choice Financial Center, First
11   Document Services, Global Direct Accounting Solutions, Keystone Document Center,
12   Pacific Palm Financial Group, Pacific Shores Advisory, Sequoia Account Management,
13   Signature Loan Solutions, Yellowstone Account Services, ClearStudentLoanDebt, and
14   Clear Student Loan Debt.
15         190. The websites for Doc Management Solutions, Financial Accounting Center,
16   Prime Document Services, Primary Account Solutions, Administrative Account Services,
17   South Coast Financial Center, First Choice Financial Center, Coastal Shores Financial
18   Group, Tangible Savings Solutions, Administrative Financial, Account Preparation
19   Services, Financial Loan Advisors, and Direct Account Services are nearly identical.
20                           Transfer of Assets to Relief Defendants
21         191. Defendants Wen, Kim, and Nguyen directed and controlled Relief
22   Defendants Hold the Door, Infinite Management, and TN Accounting, respectively.
23         192. Wen, Kim, and Nguyen are the signatories on bank accounts for the
24   respective companies and thus controlled the flow of money into and out of their
25   corporate accounts.
26         193. From 2017 to 2019, payments from CAC or True Count made up most or
27   almost all the income of Hold the Door, Infinite Management, and TN Accounting.
28   //

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 1         194. Monies were transferred from Hold the Door, Infinite Management, and TN
 2   Accounting to the respective individuals’ personal accounts or to pay their personal
 3   expenses.
 4         195. Hold the Door made over $200,000 in direct transfers to Wen’s personal
 5   bank accounts, and it made payments for purchases of art and for Wen’s Tesla and
 6   Mercedes Benz automobiles.
 7         196. Infinite Management made more than $300,000 in payments to pay Kim’s
 8   personal credit cards, wedding expenses, dental expenses, and to purchase luxury cars.
 9         197. Infinite Management purchased approximately $87,500 in jewelry, paid over
10   $200,000 to purchase a luxury vehicle, and spent approximately $60,000 as a down
11   payment for a second luxury vehicle for Relief Defendant Sarah Kim.
12         198. Sarah Kim is not employed by Infinite Management, nor has she ever done
13   business with Infinite Management.
14         199. TN Accounting transferred over $100,000 to Nguyen’s personal bank
15   accounts and made payments on Nguyen’s personal credit cards and Tesla.
16         200. In December 2018, Mice and Men opened a banking account with Bank of
17   America, listing Judy L Dai as the signor, and a related debit card was issued to Mice and
18   Men LLC Judy L Dai.
19         201. In December 2018, a total of 14 deposits and credits were received in the
20   Mice and Men account at Bank of America from Prime Consulting, totaling $5,041,039.
21   Thirteen of the deposits and credits were for purported marketing expenses, and one was
22   for purported residual expenses. During its existence, no other deposits were made into
23   this account.
24         202. In January 2019, a bank account in the name of Mice and Men was opened
25   with UBS, listing Judy L Dai as the signor.
26         203. In or around February 2019, Bank of America notified Mice and Men that
27   Bank of America was closing the Mice and Men account.
28   //

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 1         204. In February 2019, a bank check from Bank of America in the amount of
 2   $5,041,039 was deposited into the Mice and Men account at UBS. This represented the
 3   entire balance in the Mice and Men Bank America account.
 4         205. In April 2019, Defendant Wen was granted third party access to the Mice
 5   and Men account at UBS, which gave him the ability to view account information,
 6   balances, monthly statements and tax information.
 7         206. In the Corporate Financial Statement submitted by True Count Staffing
 8   pursuant to the October 21, 2019 Temporary Restraining Order (TRO), True Count
 9   identified the Mice and Men UBS account, which contained approximately $4 million, as
10   being held by True Count Staffing.
11         207. Defendant Wen is the 100% owner of True Count Staffing.
12         208. Prime transferred approximately $4 million to 1st Generation Holdings over
13   the last three years.
14         209. True Count’s Corporate Financial Statement submitted pursuant to the TRO
15   identified funds in 1st Generation Holdings accounts as held for the benefit of True
16   Count.
17         210. Between 2017-2018, CAC paid Anan Enterprise approximately $3.6 million
18   ostensibly for services, but Anan Enterprise never rendered those services.
19                                   LEGAL BACKGROUND
20                                             The TSR
21         211. The TSR defines “debt relief service” as “any program or service
22   represented, directly or by implication, to renegotiate, settle, or in any way alter the terms
23   of payment or other terms of the debt between a person and one or more unsecured
24   creditors or debt collectors, including, but not limited to, a reduction in the balance,
25   interest rate, or fees owed by a person to an unsecured creditor or debt collector.” 16
26   C.F.R. § 310.2(o).
27         212. The TSR defines a “seller” as “any person who, in connection with a
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 1   telemarketing transaction, provides, offers to provide, or arranges for others to provide
 2   goods or services to the customer in exchange for consideration.” 16 C.F.R. § 310.2(dd).
 3          213. The TSR defines “telemarketer” as “any person who, in connection with
 4   telemarketing, initiates or receives telephone calls to or from a customer.” 16 C.F.R.
 5   § 310.2(ff).
 6          214. The TSR defines “telemarketing” in relevant part as “a plan, program, or
 7   campaign which is conducted to induce the purchase of goods or services . . . by use of
 8   one or more telephones and which involves more than one interstate telephone call.” 16
 9   C.F.R. § 310.2(gg).
10          215. The Student Loan Debt Relief Companies offered services to renegotiate,
11   settle, or alter the terms of payments of consumers’ federal student loans by submitting
12   requests for loan forgiveness or IDR plans to consumers’ student-loan servicers.
13          216. The Student Loan Debt Relief Companies offered and provided these
14   services to consumers nationwide using the telephones and employed more than one
15   interstate telephone call.
16          217. The Student Loan Debt Relief Companies offered and provided these
17   services to consumers in exchange for payment of enrollment and monthly fees in
18   connection with a telemarketing transaction.
19          218. The Student Loan Debt Relief Companies are each a “telemarketer” or
20   “seller” offering a “debt relief service” under the TSR.
21          219. Kim arranged for CAC to provide debt-relief services to consumers in
22   exchange for consideration and personally generated marketing leads for Prime. Kim is a
23   “telemarketer” or “seller” offering a “debt relief service” under the TSR. 16 C.F.R.
24   § 310.2(dd), (ff), (o).
25          220. Wen arranged for CAC and True Count to provide debt-relief services to
26   consumers in exchange for consideration. Wen is a “seller” offering a “debt relief
27   service” under the TSR. 16 C.F.R. § 310.2(dd), (o).
28   //

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 1         221. Nguyen arranged for CAC and True Count to provide debt-relief services to
 2   consumers in exchange for consideration. Nguyen is a “seller” offering a “debt relief
 3   service” under the TSR. 16 C.F.R. § 310.2(dd), (o).
 4         222. TAS is a “seller” because it provided, offered to provide, or arranged for
 5   others to provide third-party dedicated account services to consumers “in connection with
 6   a telemarketing transaction.” 16 C.F.R. § 310.2(dd).
 7                                           The CFPA
 8         223. Sections 1031 and 1036(a)(1)(B) of the CFPA, 12 U.S.C. §§ 5531,
 9   5536(a)(1)(B), prohibit “covered person[s]” and “service provider[s]” from engaging in
10   any “unfair, deceptive, or abusive act or practice.”
11         224. The Student Loan Debt Relief Companies are each “covered persons” under
12   the CFPA because they offer or provide consumer-financial products or services,
13   including financial-advisory services such as assisting consumers with debt-management
14   or debt-settlement and modifying the terms of any extension of credit. 12 U.S.C.
15   § 5481(5), (6), (15)(A)(viii).
16         225. TAS is a “covered person” under the CFPA because it offered or provided
17   consumer-financial products or services, including by “engaging in deposit-taking
18   activities, transmitting or exchanging funds, or otherwise acting as a custodian of funds
19   or any financial instrument for use by or on behalf of a consumer.” 12 U.S.C.
20   § 5481(15)(iv).
21         226. The CFPA also defines “covered person” to include “(B) any affiliate of a
22   person [that engages in offering or providing a consumer financial product or service] if
23   such affiliate acts as a service provider to such person.” 12 U.S.C. § 5481(6).
24         227. Section 1002(1) of the CFPA defines the term “affiliate” to mean “any
25   person that controls, is controlled by, or is under common control with another person.”
26   12 U.S.C. § 5481(1).
27         228. Section 1002(26)(A) of the CFPA defines the term “service provider” to
28   mean “any person that provides a material service to a covered person in connection with

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 1   the offering or provision by such covered person of a consumer financial product or
 2   service, including a person that-- … (ii) processes transactions relating to the consumer
 3   financial product or service ….” 12 U.S.C. § 5481(26)(A)(ii).
 4         229. TAS, Horizon and First Priority are affiliates of the Student Loan Debt
 5   Relief Companies because they are controlled by the Student Loan Debt Relief
 6   Companies. Further, by processing consumer payments made to the Student Loan Debt
 7   Relief Companies, TAS, Horizon, and First Priority acted as service providers to the
 8   Student Loan Debt Relief Companies. TAS, Horizon, and First Priority are each “covered
 9   persons” under the CFPA.
10         230. Section 1002(25) of the CFPA defines the term “related person” to mean
11   “any director, officer, or employee charged with managerial responsibility for, or
12   controlling shareholder of,” or “any . . . other person . . . who materially participates in
13   the conduct of the affairs of” a non-bank provider of a consumer-financial product or
14   service. 12 U.S.C. § 5481(25)(C). Section 1002(25) further provides that a “related
15   person” shall be “deemed to mean a covered person for all purposes of any provision of
16   Federal consumer financial law.” 12 U.S.C. § 5481(25)(B).
17         231. Kim is a “related person” and “covered person” under the CFPA because he
18   is CAC’s owner and officer and had managerial responsibility for CAC. He controlled
19   CAC’s bank accounts, oversaw CAC’s sales and marketing, entered into contractual
20   relationships on CAC’s behalf with payment processors, and responded to certain
21   consumer complaints.
22         232. Wen is a “related person” and “covered person” under the CFPA because he
23   is True Count’s owner and officer, has been an owner and manager of CAC, and has had
24   managerial responsibility for both companies. He was involved in making decisions for
25   CAC, including the decision to shift CAC’s processing function to True Count, entered
26   into contractual relationships on behalf of True Count with payment processors, and was
27   a signatory on True Count’s bank accounts.
28   //

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 1         233. Nguyen is a “related person” and “covered person” under the CFPA because
 2   he is an officer of CAC and True Count and has managerial responsibility for CAC, and
 3   because he materially participated in the conduct of the Student Loan Debt Relief
 4   Companies. He managed CAC’s finances and responded to consumers’ complaints on
 5   CAC’s behalf. He also was the point of contact for several of CAC’s and True Count’s
 6   merchant accounts.
 7                                            COUNT I
 8                             By the Bureau and the States
                  (Advance Fees in Violation of the TSR – Enrollment Fees)
 9          (The Student Loan Debt Relief Companies and Individual Defendants)
10         234. The allegations in paragraphs 1-222 are incorporated by reference.
11         235. Under the TSR, it is an abusive act or practice for a seller or telemarketer to
12   request or receive payment of any fee or consideration for any debt-relief services unless
13   and until (A) the seller or telemarketer has renegotiated, settled, reduced, or otherwise
14   altered the terms of at least one debt pursuant to a settlement agreement, debt-
15   management plan, or other such valid contractual agreement executed by the customer;
16   and (B) the customer has made at least one payment pursuant to that settlement
17   agreement, debt-management plan, or other valid contractual agreement between the
18   customer and the creditor or debt collector. 16 C.F.R. § 310.4(a)(5)(i)(A)-(B).
19         236. In the course of providing, offering to provide, or arranging for others to
20   provide debt-relief services, the Student Loan Debt Relief Companies and Individual
21   Defendants charged and collected from consumers enrollment fees before consumers had
22   been approved for IDR plans and before consumers had made any payments toward such
23   IDR plans, in violation of the TSR. 16 C.F.R. § 310. 4(a)(5)(i)(A)-(B).
24         237. Moreover, because the IDR plans in which consumers were placed often
25   were based on false information about consumers’ family size, income, and marital status
26   that the Student Loan Debt Relief Companies submitted to consumers’ student-loan
27   servicers, none of the payments made by consumers in these plans were made pursuant to
28   a “valid contractual agreement” within the meaning of the TSR and thus were collected in

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 1   violation of the TSR. 16 C.F.R. § 310.4(a)(5)(i)(A)-(B).
 2                                             COUNT II
 3                               By the Bureau and the States
                     (Advance Fees in Violation of the TSR – Monthly Fees)
 4            (The Student Loan Debt Relief Companies and Individual Defendants)
 5            238. The allegations in paragraphs 1-222 are incorporated by reference.
 6            239. In the course of providing, offering to provide, or arranging for others to
 7   provide debt-relief services, the Student Loan Debt Relief Companies and Individual
 8   Defendants charged and collected from consumers monthly fees before consumers had
 9   completed their annual recertifications of eligibility for IDR plans and before consumers
10   had made any payments toward such recertified IDR plans, in violation of the TSR. 16
11   C.F.R. § 310. 4(a)(5)(i)(A)-(B).
12            240. Moreover, because the IDR plans in which consumers were placed often
13   were based on false information about consumers’ family size, income, and marital status
14   that the Student Loan Debt Relief Companies submitted to consumers’ student-loan
15   servicers, none of the payments made by consumers in these plans were made pursuant to
16   a “valid contractual agreement” within the meaning of the TSR and thus were collected in
17   violation of the TSR. 16 C.F.R. § 310.4(a)(5)(i)(A)-(B).
18                                            COUNT III
19                               By the Bureau and the States
                              (Misrepresentations About Material
20                     Aspects of Their Services in Violation of the TSR)
              (The Student Loan Debt Relief Companies and Individual Defendants)
21
22            241. The allegations in paragraphs 1-222 are incorporated by reference.
23            242. It is a deceptive practice under the TSR for a seller or telemarketer to
24   misrepresent any material aspect of the efficacy of their services and to misrepresent any
25   material aspect of a debt-relief service. 16 C.F.R. § 310.3(a)(2)(iii), (x).
26            243. Among other things, the Student Loan Debt Relief Companies and
27   Individual Defendants misrepresented, directly or indirectly, expressly or by implication
28   that:

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 1                a.     fees paid by consumers were payments toward the consumer’s
 2         outstanding loan debt;
 3                b.     fees paid by consumers reflected the adjusted amount of the
 4         consumers’ periodic payments toward their outstanding loan balance;
 5                c.     consumers’ loans would be forgiven in whole or in part shortly after
 6         enrolling in the Student Loan Debt Relief Companies’ services;
 7                d.     consumers were eligible or approved for lower monthly payments,
 8         including where such payment amounts had been calculated based on an incorrect
 9         family size, income, or marital status;
10                e.     consumers’ monthly payment amount had been lowered for the life of
11         the repayment plan; and
12                f.     any fees collected would be held in trust accounts maintained by a
13         third-party account provider until the Student Loan Debt Relief Companies had
14         performed certain services.
15         244. The Student Loan Debt Relief Companies and Individual Defendants also
16   failed to inform consumers that:
17                a.     it was their practice to submit forbearance requests on behalf of
18         consumers; and
19                b.     it was their practice to falsify consumers’ family size, marital status,
20         and income to consumers’ student-loan servicers.
21         245. The acts or practices of the Individual Defendants and Student Loan Debt
22   Relief Companies, as set forth in this Count, are deceptive acts or practices that violate
23   the TSR, 16 C.F.R. 310.3(a)(2)(iii), (x).
24                                           COUNT IV
25                                By the Bureau and the States
                              (Misrepresentations About Material
26                      Aspects of Their Services in Violation of the TSR)
                                 (True Count, Prime, and TAS)
27
           246. The allegations in paragraphs 1-222 are incorporated by reference.
28


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 1          247. It is a deceptive practice under the TSR for a seller or telemarketer to
 2   misrepresent any material aspect of the efficacy of their services and to misrepresent any
 3   material aspect of a debt-relief service. 16 C.F.R. § 310.3(a)(2)(iii), (x).
 4          248. True Count, Prime, and TAS misrepresented, directly or indirectly, expressly
 5   or by implication, that TAS was an independent third-party provider of dedicated
 6   customer escrow accounts.
 7          249. The misrepresentations relate to a material aspect of a debt-relief service.
 8          250. The acts or practices of the Individual Defendants, Student Loan Debt Relief
 9   Companies, and TAS, as set forth in this paragraph, are deceptive acts or practices that
10   violate the TSR, 16 C.F.R. 310.3(a)(2)(iii), (x).
11                                            COUNT V
12                                By the Bureau and the States
                         (Substantial Assistance in Violation of the TSR)
13                                   (Individual Defendants)
14          251. The allegations in paragraphs 1-222 are incorporated by reference.
15          252. The TSR prohibits any person from providing “substantial assistance or
16   support to any seller or telemarketer when that person knows or consciously avoids
17   knowing that the seller or telemarketer is engaged in any act or practice that [constitutes
18   deceptive or abusive conduct]” under the Rule. 16 C.F.R. § 310.3(b).
19          253. Kim managed both CAC’s and True Count’s day-to-day operations. As
20   CAC’s co-owner and president, Kim oversaw CAC’s marketing and approved its sales
21   scripts.
22          254. Kim knew, or recklessly avoided knowing, the material misrepresentations
23   and omissions that CAC’s and True Count’s sales representatives and processors made to
24   consumers.
25          255. Kim knew, or recklessly avoided knowing, that the Student Loan Debt
26   Relief Companies charged and collected enrollment and monthly fees from consumers
27   before the companies had obtained loan-repayment plans for consumers and before
28   consumers had made their first payments toward such repayment plans.

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 1         256. Kim represented CAC in contractual relationships with payment processors.
 2         257. As CAC’s point of contact on a merchant account where he agreed to keep
 3   chargebacks and fraud below a certain level, Kim knew, or recklessly avoided knowing,
 4   that the merchant’s monthly statements identified tens of thousands of dollars in
 5   chargebacks and hundreds of thousands of dollars in consumer refunds between August
 6   2017 and March 2019.
 7         258. As CAC’s co-owner and officer and True Count’s owner and officer, Wen
 8   entered into payment-processing agreements on CAC’s and True Count’s behalf,
 9   including at least one where he represented that True Count intended to fully comply with
10   the TSR.
11         259. As a principal representative for CAC’s and True Count’s merchant
12   accounts and a signatory on the bank accounts from which refunds and chargebacks to
13   consumers were paid, Wen knew, or recklessly avoided knowing, CAC’s and True
14   Count’s high chargeback and refund rates, including that during at least one period, the
15   top chargeback reasons included “fraud.”
16         260. Wen knew, or recklessly avoided knowing, the material misrepresentations
17   and omissions that CAC’s and True Count’s sales representatives and processors made to
18   consumers.
19         261. Wen knew, or recklessly avoided knowing, that the Student Loan Debt
20   Relief Companies charged and collected enrollment and monthly fees from consumers
21   before the companies had obtained loan-repayment plans for consumers and before
22   consumers had made their first payments toward such repayment plans.
23         262. As an officer of CAC and True Count, Nguyen managed CAC’s finances,
24   served as a point of contact for several of CAC’s and True Count’s merchant accounts,
25   and responded to consumer complaints on CAC’s behalf.
26         263. Because he signed a January 2018 letter from CAC to a payment processor
27   in which he acknowledged that CAC had incurred excessive chargebacks and that fraud
28   was one of the top reasons for such chargebacks, Nguyen knew, or recklessly avoided

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 1   knowing, the material misrepresentations and omissions that CAC’s and True Count’s
 2   sales representatives and processors made to consumers.
 3         264. Nguyen knew, or recklessly avoided knowing, that the Student Loan Debt
 4   Relief Companies charged and collected enrollment and monthly fees from consumers
 5   before the companies had obtained loan-repayment plans for consumers and before
 6   consumers had made their first payments toward such repayment plans.
 7         265. Kim, Wen, and Nguyen provided substantial assistance to the Student Loan
 8   Debt Relief Companies in their violations of the TSR.
 9                                           COUNT VI
10                                By the Bureau and the States
                         (Substantial Assistance in Violation of the TSR)
11                                    (Payment Companies)
12         266. The allegations in paragraphs 1-222 are incorporated by reference.
13         267. The TSR prohibits any person from providing “substantial assistance or
14   support to any seller or telemarketer when that person knows or consciously avoids
15   knowing that the seller or telemarketer is engaged in any act that [constitutes deceptive or
16   abusive conduct]” under the Rule. 16 C.F.R. § 310.3(b).
17         268. The Payment Companies knew, or consciously avoided knowing, the
18   material misrepresentations that the Student Loan Debt Relief Companies made to
19   consumers.
20         269. The Payment Companies knew, or consciously avoided knowing, that the
21   Student Loan Debt Relief Companies charged and received fees from consumers before
22   consumers’ applications for loan consolidations, loan-repayment plans, and loan-
23   forgiveness plans were approved, and before consumers had made the first payments
24   under the altered terms of their student loans.
25         270. The Payment Companies provided substantial assistance to the Student Loan
26   Debt Relief Companies in their violations of the TSR. 16 C.F.R. § 310.3(b)
27   //
28   //

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 1                                            COUNT VII
 2                                      By the Bureau
                                     (CFPA – Deception)
 3            (The Student Loan Debt Relief Companies and Individual Defendants)
 4            271. The allegations in paragraphs 1-210 and 223-233 are incorporated by
 5   reference.
 6            272. Among other things, the Student Loan Debt Relief Companies and
 7   Individual Defendants misrepresented, directly or indirectly, expressly or by implication
 8   that:
 9                  a.    fees paid by consumers were payments toward the consumer’s
10            outstanding loan debt;
11                  b.    fees paid by consumers reflected the adjusted amount of the
12            consumers’ periodic payments toward their outstanding loan balance;
13                  c.    consumers’ loans would be forgiven in whole or in part following
14            payment of the initial enrollment fees;
15                  d.    consumers were eligible or approved for lower monthly payments,
16            including where such payment amounts have been calculated based on an
17            incorrect family size, income, or marital status;
18                  e.    consumers’ monthly payment amounts had been lowered for the life
19            of the repayment plan; and
20                  f.    any fees collected would be held in trust accounts maintained by a
21            third-party account provider until the Student Loan Debt Relief Companies had
22            performed certain services.
23            273. The Student Loan Debt Relief Companies also failed to inform consumers
24   that:
25                  a.     it was their practice to submit forbearance requests on behalf of
26            consumers; and
27   //
28   //

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 1                  b.    it was their practice to falsify consumers’ family size, marital status,
 2            and income to consumers’ student-loan servicers and the consequences for
 3            consumers of that practice.
 4            274. The Student Loan Debt Relief Companies’ representations were material and
 5   likely to mislead consumers acting reasonably under the circumstances.
 6            275. Among other things, Kim generated marketing leads for Prime, approved
 7   sales scripts for CAC, and managed day-to-day operations for CAC and True Count. He
 8   was also aware of CAC’s and True Count’s high chargeback and consumer-refund rates.
 9   He participated directly in these representations or had the authority to control them as
10   CAC’s co-owner and president and had knowledge of these representations, was
11   recklessly indifferent to the truth or falsity of the misrepresentations, or was aware of a
12   high probability of fraud along with an intentional avoidance of the truth.
13            276. Among other things, Wen managed payment-processor relationships on
14   behalf of True Count, was a signatory on True Count’s bank accounts, and was aware of
15   CAC’s and True Count’s high chargeback and consumer-refund rates. He participated
16   directly in these representations or had the authority to control them as CAC’s co-owner
17   and president and True Count’s owner and president and had knowledge of these
18   representations, was recklessly indifferent to the truth or falsity of the misrepresentations,
19   or was aware of a high probability of fraud along with an intentional avoidance of the
20   truth.
21            277. Among other things, Nguyen managed CAC’s finances, responded to
22   consumer complaints, and served as point of contact on several of CAC’s and True
23   Count’s merchant accounts. He was aware of CAC’s and True Count’s high chargeback
24   and consumer-refund rates. He participated directly in these representations or had the
25   authority to control them and had knowledge of these representations, was recklessly
26   indifferent to the truth or falsity of the misrepresentations, or was aware of a high
27   probability of fraud along with an intentional avoidance of the truth.
28   //

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 1         278. The Student Loan Debt Relief Companies and Individual Defendants have
 2   therefore engaged in deceptive acts or practices in violation of §§ 1031 and 1036 of the
 3   CFPA, 12 U.S.C. §§ 5531, 5536.
 4                                         COUNT VIII
 5                                       By the Bureau
                                       (CFPA – Deception)
 6                                (True Count, Prime, and TAS)
 7         279. The allegations in paragraphs 1-210 and 223-233 are incorporated by
 8   reference.
 9         280. True Count, Prime, and TAS misrepresented, directly or indirectly, expressly
10   or by implication, that TAS was an independent third-party provider of dedicated
11   customer accounts.
12         281. The representations were material and likely to mislead consumers acting
13   reasonably under the circumstances.
14         282. True Count, Prime, and TAS have therefore engaged in deceptive acts or
15   practices in violation of §§ 1031 and 1036 of the CFPA, 12 U.S.C. §§ 5531, 5536.
16                                           COUNT IX
17                                        By the Bureau
                        (Substantial Assistance in Violation of the CFPA)
18                                   (Individual Defendants)
19         283. The allegations in paragraphs 1-210 and 223-233 are incorporated by
20   reference.
21         284. Section 1036(a)(3) of the CFPA prohibits any person from “knowingly or
22   recklessly provid[ing] substantial assistance to a covered person or service provider in
23   violation of the provisions of section 1031” and states that “the provider of such
24   substantial assistance shall be deemed to be in violation of that section to the same extent
25   as the person to whom such assistance is provided.” 12 U.S.C. § 5536(a)(3).
26         285. As CAC’s co-owner and president, and as someone who managed the day-
27   to-day operations of CAC and True Count and who generated marketing leads for Prime,
28   Kim knowingly or recklessly provided substantial assistance to the Student Loan Debt

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 1   Relief Companies in their deceptive acts or practices.
 2         286. As CAC’s co-owner and True Count’s owner and president who was aware
 3   that high chargeback and consumer refund rates were attributable at least in part to fraud,
 4   Wen knowingly or recklessly provided substantial assistance to the Student Loan Debt
 5   Relief Companies in their deceptive acts or practices.
 6         287. As an individual responsible for managing CAC’s finances and responding
 7   to consumers’ complaints on behalf of CAC and who was aware that the Student Loan
 8   Debt Relief Companies’ high chargeback and consumer-refund rates were attributable at
 9   least in part to fraud, Nguyen knowingly or recklessly provided substantial assistance to
10   the Student Loan Debt Relief Companies in their deceptive acts or practices.
11         288. The Individual Defendants thus provided substantial assistance to the
12   Student Loan Debt Relief Companies in their deceptive acts or practices, in violation of
13   § 1036(a)(3) of the CFPA. 12 U.S.C. § 5563(a)(3).
14                                           COUNT X
15                                        By the Bureau
                        (Substantial Assistance in Violation of the CFPA)
16                                    (Payment Companies)
17         289. The allegations in paragraphs 1-210 and 223-233 are incorporated by
18   reference.
19         290. Section 1036(a)(3) of the CFPA prohibits any person from “knowingly or
20   recklessly provid[ing] substantial assistance to a covered person or service provider in
21   violation of the provisions of section 1031” and states that “the provider of such
22   substantial assistance shall be deemed to be in violation of that section to the same extent
23   as the person to whom such assistance is provided.” 12 U.S.C. § 5536(a)(3).
24         291. The Payment Companies knew, or recklessly avoided knowing, the material
25   misrepresentations that the Student Loan Debt Relief Companies made to consumers.
26         292. The Payment Companies provided substantial assistance to the Student Loan
27   Debt Relief Companies in their deceptive acts or practices, in violation of § 1036(a)(3) of
28   the CFPA. 12 U.S.C. § 5563(a)(3).

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 1                                          COUNT XI
 2                                       By the Bureau
                            CFPA Violation Based on Violation of TSR
 3                                      (All Defendants)
 4         293. The allegations in paragraphs 1-233 are incorporated by reference.
 5         294. The Bureau is authorized to enforce the Telemarketing Act with respect to
 6   the offering or provision of a consumer-financial product or service subject to the CFPA.
 7   15 U.S.C. § 6105(d).
 8         295. A violation of the TSR “committed by a person subject to the Consumer
 9   Financial Protection Act of 2010 shall be treated as a violation of a rule under Section
10   1031 of [the CFPA] regarding unfair, deceptive, or abusive acts or practices.” 15 U.S.C.
11   § 6102.
12         296. Section 1031 of the CFPA provides that “[t]he Bureau may prescribe rules
13   applicable to a covered person or service provider identifying as unlawful unfair,
14   deceptive, or abusive acts or practices in connection with any transaction with a
15   consumer for a consumer financial product or service, or the offering of a consumer
16   financial product or service.” 12 U.S.C. § 5531(b).
17         297. Defendants’ violations of the TSR are treated as violations of a rule under
18   § 1031 of the CFPA. 15 U.S.C. § 6102(c).
19         298. Because Defendants are “covered persons” who violated the TSR by
20   charging and collecting illegal advance fees from consumers and engaging in deceptive
21   conduct, they violated § 1036(a)(1)(A) of the CFPA. 12 U.S.C. § 5536(a)(1)(A).
22                                          COUNT XII
23                                 By the Bureau and the States
24                                      (Relief Defendants)

25         299. The allegations in paragraphs 1-233 are incorporated by reference.

26         300. Relief Defendants Hold the Door, Infinite Management, TN Accounting,

27   Mice and Men, 1st Generation Holdings, Sarah Kim, and Anan Enterprise have received,

28   directly or indirectly, funds or other assets from Defendants that are traceable to funds


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 1   obtained from consumers through the deceptive and unlawful practices described herein.
 2         301. The Relief Defendants are not bona fide purchasers with legal or equitable
 3   title to the funds or other assets received from Defendants.
 4         302. The Relief Defendants would be unjustly enriched if not required to disgorge
 5   funds or the value of the benefits received as a result of Defendants’ unlawful acts or
 6   practices.
 7         303. The Relief Defendants therefore hold funds and assets in constructive trust
 8   for the benefit of the Student Loan Debt Relief Companies’ customers.
 9                                         COUNT XIII
10                                   By the State of Minnesota
11                          Prevention of Consumer Fraud Act
                               Minn. Stat. § 325F.69, et seq.
12          (The Student Loan Debt Relief Companies and Individual Defendants)
13         304. The allegations in paragraphs 1-270 and 299-303 are incorporated by
14   reference.
15         305. Minnesota Statutes section 325F.69, subdivision 1 reads:
16         306. The act, use, or employment by any person of any fraud, false pretense, false
17   promise, misrepresentation, misleading statement or deceptive practice, with the intent
18   that others rely thereon in connection with the sale of any merchandise, whether or not
19   any person has in fact been misled, deceived, or damaged thereby, is enjoinable as
20   provided in section 325F.70.
21         307. The term “merchandise” within the meaning of Minnesota Statutes section
22   325F.69 includes services. See Minn. Stat. § 325F.68, subd. 2.
23         308. The term “person” includes “any natural person or legal representative,
24   partnership, corporation (domestic and foreign), company, trust, business entity, or
25   association, and any agent, employee, salesperson, partner, officer, director, member,
26   stockholder, associate, trustee, or cestui que thereof.” Minn. Stat. § 325F.68, subd. 3.
27   The Student Loan Debt Relief Companies and Individual Defendants are “persons”
28   within the meaning of the statute.

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 1         309. The Student Loan Debt Relief Companies and Individual Defendants
 2   repeatedly violated Minnesota Statutes section 325F.69, subdivision 1, by engaging in the
 3   deceptive and fraudulent practices described in this Complaint, with the intent that others
 4   rely thereon in connection with the sale of their student loan debt relief services. This
 5   conduct includes, but is not limited to:
 6                a.     Misrepresenting to consumers that the Student Loan Debt Relief
 7         Companies could forgive consumers’ loans and otherwise misrepresenting their
 8         ability to reduce or eliminate student loan debt;
 9                b.     Misrepresenting to consumers that the consumers were “approved” for
10         student loan relief, and otherwise misrepresenting their ability to qualify borrowers
11         for government programs;
12                c.     Misrepresenting and falsely leading consumers to believe that the
13         Student Loan Debt Relief Companies would apply payments made to it to
14         consumers’ loans;
15                d.     Misrepresenting and falsely leading consumers to believe that fees
16         paid by consumers reflected the adjusted amount of the consumers’ periodic
17         payments toward their outstanding loan balance;
18                e.     Misrepresenting to consumers that the amount owed on their student
19         loans would be reduced;
20                f.     Misrepresenting to consumers that their loans would be forgiven in
21         whole or in part following payment of the enrollment fees;
22                g.     Misrepresenting to consumers that their monthly student loan payment
23         amount had been lowered for the life of the repayment plan;
24                h.     Misrepresenting to consumers that fees collected would be held in
25         trust accounts maintained by a third-party account provider until the Student Loan
26         Debt Relief Companies had performed certain services;
27                i.     Misleading consumers to believe that the Student Loan Debt Relief
28         Companies were tied to or had a relationship with the federal government

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 1                   or a particular federal debt relief plan;
 2                   Misrepresenting government programs and payment plan terms to
 3                   consumers; and
 4                   The other practices described in this Complaint.
 5         310. Due to the deceptive and fraudulent conduct described in this Complaint,
 6   Minnesota consumers made payments to Defendants for services that they otherwise
 7   would not have purchased, thereby causing harm to those consumers.
 8         311. Defendants’ conduct, practices, and actions described in this Complaint
 9   constitute multiple, separate violations of Minnesota Statutes section 325F.69.
10                                          COUNT XIV
11                              By the State of Minnesota
                          Uniform Deceptive Trade Practices Act
12                             Minn. Stat. § 325F.43, et seq.
            (The Student Loan Debt Relief Companies and Individual Defendants)
13
14         312. The allegations in paragraphs 1-270 and 299-311 are incorporated by
15   reference.
16         313. Minnesota Statutes section 325D.44, subdivision 1 provides, in part that:
17         A person engages in a deceptive trade practice when, in the course of business,
18         vocation, or occupation, the person:
                                                      ***
19         (2) causes likelihood of confusion or of misunderstanding as to the source,
20         sponsorship, approval, or certification of goods or services;
                                                      ***
21         (5) represents that goods or services have sponsorship, approval, characteristics,
22         ingredients, uses, benefits, or quantities that they do not have or that a person has a
           sponsorship, approval, status, affiliation, or connection that the person does not
23         have;
24                                                    ***
           (7) represents that goods or services are of a particular standard [or] quality . . . if
25         they are of another;
26                                                    ***
           (9) advertises goods or services with intent not to sell them as advertised; [or]
27                                                    ***
28         (13) engages in any other conduct which similarly creates a likelihood of

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 1          confusion or of misunderstanding.
 2          314. The Student Loan Debt Relief Companies and Individual Defendants are
 3   “persons” within the meaning of the statute.
 4          315. The Student Loan Debt Relief Companies and Individual Defendants
 5   repeatedly violated Minnesota Statutes section 325D.44, subdivision 1, by, in the course
 6   of business, engaging in the deceptive and fraudulent practices described in this
 7   Complaint that caused a likelihood of confusion or of misunderstanding among
 8   consumers in connection with the sale of Defendants’ student loan debt relief services,
 9   including by making false, deceptive, fraudulent, and/or misleading representations to
10   consumers regarding its advertised services. These practices include but are not limited
11   to:
12                a.     Misrepresenting to consumers that the Student Loan Debt Relief
13          Companies could forgive consumers’ loans and otherwise misrepresenting their
14          ability to reduce or eliminate student loan debt;
15                b.     Misrepresenting to consumers that the consumers were “approved” for
16          student loan relief, and otherwise misrepresenting their ability to qualify borrowers
17          for government programs;
18                c.     Misrepresenting and falsely leading consumers to believe that the
19          Student Loan Debt Relief Companies would apply payments made to it to
20          consumers’ loans;
21                d.     Misrepresenting and falsely leading consumers to believe that fees
22          paid by consumers reflected the adjusted amount of the consumers’ periodic
23          payments toward their outstanding loan balance;
24                e.     Misrepresenting to consumers that the amount owed on their student
25          loans would be reduced;
26                f.     Misrepresenting to consumers that their loans would be forgiven in
27          whole or in part following payment of the enrollment fees;
28   //

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 1                g.    Misrepresenting to consumers that their monthly student loan payment
 2         amount had been lowered for the life of the repayment plan;
 3                h.    Misrepresenting to consumers that fees collected would be held in
 4         trust accounts maintained by a third-party account provider until the Student Loan
 5         Debt Relief Companies had performed certain services;
 6                i.    Misleading consumers to believe that the Student Loan Debt Relief
 7         Companies were tied to or had a relationship with the federal government or a
 8         particular federal debt relief plan;
 9                j.    Misrepresenting government programs and payment plan terms to
10         consumers; and
11                k.    The other practices described in this Complaint.
12         316. Due to the deceptive and fraudulent conduct described in this Complaint,
13   Minnesota consumers made payments to Defendants for services that they otherwise
14   would not have purchased, thereby causing harm to those consumers.
15         317. Defendants’ conduct, practices, and actions described in this Complaint
16   constitute multiple, separate violations of Minnesota Statutes section 325D.44.
17                                                Count XV
18                              By the State of North Carolina
                              North Carolina Debt Adjusting Act
19                              N.C. Gen. Stat. § 14-423, et seq.
              (The Student Loan Debt Relief Companies and Individual Defendants)
20
           318. The allegations in paragraphs 1-270 and 299-303 are incorporated by
21
     reference.
22
           319. The Student Loan Debt Relief Companies engaged in illegal “debt
23
     adjusting” as that term is defined in Article 56 of Chapter 14 of the North Carolina
24
     General Statutes. Specifically, N.C. Gen. Stat. § 14-423(2) defines “debt adjusting” as
25
     any of the following:
26
     //
27
     //
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 1                      “Debt adjusting” means entering into or making a contract,
                  express or implied, with a particular debtor whereby the debtor
 2                agrees to pay a certain amount of money periodically to the
                  person engaged in the debt adjusting business and that person,
 3                for consideration, agrees to distribute, or distributes the same
                  among certain specified creditors in accordance with a plan
 4                agreed upon.
 5                       Debt adjusting includes the business or practice of any
                  person who holds himself out as acting or offering or attempting
 6                to act for consideration as an intermediary between a debtor and
                  his creditors for the purpose of settling, compounding, or in any
 7                way altering the terms of payment of any debt of a debtor, and to
                  that end receives money or other property from the debtor, or on
 8                behalf of the debtor, for the payment to, or distribution among,
                  the creditors of the debtor.
 9
                         Debt adjusting also includes the business or practice of
10                debt settlement . . . whereby any person holds himself or herself
                  out as acting for consideration as an intermediary between a
11                debtor and the debtor’s creditors for the purpose of reducing,
                  settling, or altering the terms of the payment of any debt of the
12                debtor, whether or not the person distributes the debtor’s funds
                  or property among the creditors, and receives a fee or other
13                consideration for reducing, settling, or altering the terms of the
                  payment of the debt in advance of the debt settlement having
14                been completed or in advance of all the services agreed to having
                  been rendered in full.
15
16
           320. Debt adjusting is prohibited by N.C. Gen. Stat. § 14-424, which provides

17
     that “[i]f any person shall engage in, or offer to or attempt to, engage in the business or

18
     practice of debt adjusting, or if any person shall hereafter act, offer to act, or attempt to

19
     act as a debt adjuster, he shall be guilty of a Class 2 misdemeanor.”

20
           321. The Student Loan Debt Relief Companies and Individual Defendants’

21
     offering and purported rendering of debt adjusting services was in violation of North

22
     Carolina’s debt adjusting statute.

23
           322. The Student Loan Debt Relief Companies have entered into contracts with

24
     North Carolina student loan debtors whereby the debtors agreed to pay certain amounts

25
     of money periodically to the Student Loan Debt Relief Companies, and the Student Loan

26
     Debt Relief Companies, for consideration, represented or implied that they would

27
     distribute debtors’ money among debtors’ student loan servicers or lenders and/or DOE

28
     in accordance with a plan agreed upon.


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 1         323. The Student Loan Debt Relief Companies and Individual Defendants have
 2   engaged in the business or practice of holding themselves out as acting or offering or
 3   attempting to act for consideration, as an intermediary between North Carolina student
 4   loan debtors and their servicers or lenders and/or DOE for the purpose of settling,
 5   compounding, or altering the terms of payment of the student loan debts of the debtors,
 6   and to that end received money from the debtors, or on behalf of the debtors, for the
 7   payment to, or distribution among, the student loan creditors of the debtors.
 8         324. Defendants have engaged in a business or practice in which they hold
 9   themselves out as acting or offering or attempting to act, for consideration, as an
10   intermediary between North Carolina student loan debtors and their student loan servicers
11   or lenders and/or DOE for the purpose of reducing, settling, or altering the terms of
12   payment of North Carolina debtors’ student loan debts, and defendants receive a fee in
13   advance of the debt settlements having been completed or in advance of all the services
14   agreed to having been rendered in full.
15         325. Pursuant to N.C. Gen. Stat. § 14-425, the Attorney General is authorized to
16   seek (a) injunctive relief to enjoin Defendants from the continuation of any debt adjusting
17   activities or the offering of any debt adjusting services in North Carolina; (b) the
18   disgorgement of all monies unlawfully collected by Defendants from North Carolina
19   consumers; (c) the appointment of a receiver to assist in the recovery of funds unlawfully
20   collected by Defendants and to ensure their return to consumers; and (d) the assessment
21   of civil penalties under N.C. Gen. Stat. § 75-15.2 and attorneys’ fees for the State under
22   N.C. Gen. Stat. § 75-16.1.
23                                             Count XVI
24                                By the State of North Carolina
                         North Carolina Unfair and Deceptive Practices Act
25                                    N.C. Gen. Stat. § 75-1.1
                                         (All Defendants)
26
           326. The allegations in paragraphs 1-270, 299-303, and 318-325 are incorporated
27
     by reference.
28


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 1         327. In the course of soliciting and promoting their student loan debt relief
 2   services to North Carolina consumers, in entering into agreements with North Carolina
 3   consumers to provide such services, and in either performing or failing to meaningfully
 4   perform those services, the Defendants have engaged in unfair and deceptive acts and
 5   practices in trade or commerce in violation of N.C. Gen. Stat. § 75-1.1.
 6         328. The Student Loan Debt Relief Companies were engaged in trade or
 7   commerce in the State of North Carolina.
 8         329. The Student Loan Debt Relief Companies’ unfair or deceptive acts
 9   and practices include, but are not limited to, the following:
10         330. Engaging in violations of the TSR, as set forth supra, which are specifically
11   prohibited by 16 C.F.R. Part 310;
12         331. Engaging in illegal debt adjusting activities, as set forth supra, which are
13   specifically prohibited by N.C. Gen. Stat. 14-423, et seq.;
14         332. Failing to register as a telephonic seller under North Carolina’s Telephonic
15   Seller Registration Act, N.C. Gen. Stat §§ 66-260 and 66-261, as set forth infra; and
16         333. Making deceptive and misleading representations to consumers,
17   including but not limited to:
18                 a.    Misrepresenting to consumers that the Student Loan Debt Relief
19         Companies could forgive consumers’ loans and otherwise misrepresenting the
20         Student Loan Debt Relief Companies’ ability to reduce or eliminate student loan
21         debt;
22                 b.    Misrepresenting to consumers that the consumers were “approved” for
23         student loan relief, and otherwise misrepresenting their ability to qualify borrowers
24         for government programs;
25                 c.    Misrepresenting and falsely leading consumers to believe that the
26         Student Loan Debt Relief Companies would apply payments made to the Student
27         Loan Debt Relief Companies and Payment Companies to the consumers’
28         outstanding loans;

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 1             d.     Misrepresenting and falsely leading consumers to believe that fees
 2       paid by consumers reflected the adjusted amount of the consumers’ periodic
 3       payments toward their outstanding loan balance;
 4             e.     Misrepresenting to consumers that the amount owed on their student
 5       loans would be reduced if students signed up for the Student Loan Debt Relief
 6       Companies’ services;
 7             f.     Misrepresenting to consumers that their loans would be forgiven in
 8       whole or in part shortly after enrolling in the Student Loan Debt Relief Companies’
 9       services;
10             g.     Misrepresenting to consumers that their monthly student loan payment
11       amount had been lowered for the life of the repayment plan;
12             h.     Misrepresenting that consumers were eligible or approved for lower
13       monthly payments, including where such payment amounts had been calculated
14       based on an incorrect family size, income, or marital status;
15             i.     Misrepresenting to consumers that fees collected would be held in
16       trust accounts maintained by a third-party account provider until the Student Loan
17       Debt Relief Companies had performed certain services;
18             j.     Misrepresenting to consumers that TAS was an independent third-
19       party provider of dedicated customer accounts;
20             k.     Misleading consumers to believe that the Student Loan Debt Relief
21       Companies were tied to or had a relationship with the federal government or a
22       particular federal debt relief plan;
23             l.     Failing to inform consumers that it was their practice to submit false
24       information about consumers’ income, family size, and marital status on loan
25       adjustment applications in order to try to qualify consumers for lower monthly
26       payments;
27             m.     Misrepresenting government programs and payment plan terms to
28       consumers; and

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 1                 n.     The other practices described in this Amended Complaint.
 2           334. The Attorney General is authorized to seek an injunction against
 3   Defendants’ practices under N.C. Gen. Stat. § 75-14, the restoration of any moneys
 4   obtained by Defendants from North Carolina consumers as well as the cancellation of
 5   Defendants’ contracts with North Carolina consumers under N.C. Gen. Stat. § 75-15.1,
 6   civil penalties under N.C. Gen. Stat. § 75-15.2, and attorneys’ fees under N.C. Gen. Stat.
 7   § 75-16.1.
 8                                           Count XVII
 9                              By the State of North Carolina
                       North Carolina Telephonic Seller Registration Act
10                                 N.C. Gen. Stat. § 66-260
              (The Student Loan Debt Relief Companies and Individual Defendants)
11
             335. The allegations in paragraphs 1-270, 299-303, and 318-334 are incorporated
12
     by reference.
13
             336. North Carolina’s Telephonic Seller Registration Act, N.C. Gen. Stat §§ 66-
14
     260 and 66-261, requires any non-exempt person engaged in telephonic solicitations
15
     directed to North Carolina consumers to: (a) register with the North Carolina Secretary of
16
     State not less than 10 days before commencing telephone solicitations; (b) provide
17
     specified information on a form provided by the Secretary of State that contains the
18
     notarized signature of each principal of the telephonic seller; and (c) pay a $100.00 filing
19
     fee.
20
             337. Pursuant to N.C. Gen. Stat. § 66-261(c), a registration of a telephonic seller
21
     is valid for one year from the effective date of the provision of all required information,
22
     and may be renewed annually by making the filing required by N.C. Gen. Stat. § 66-262,
23
     and paying the filing fee of $100.00.
24
             338. Each of the Student Loan Debt Relief Companies was a “telephonic seller”
25
     as defined in N.C. Gen. Stat. § 66-260(11), as the Student Loan Debt Relief Companies
26
     caused directly, or through employees or agents, telephone solicitations or attempted
27
     telephone solicitations to occur, and the Student Loan Debt Relief Companies are not
28


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 1   exempt from the Act.
 2            339. The Student Loan Debt Relief Companies engaged in violations of the
 3   Telephonic Seller Registration Act, N.C. Gen. Stat. § 66-260, et seq., by failing to
 4   register with the North Carolina Secretary of State as a telephonic seller; by failing to
 5   provide the North Carolina Secretary of State with the information mandated by N.C.
 6   Gen. Stat. § 66-262; by failing to pay the filing fee of $100.00; and by failing to register
 7   in each year the Student Loan Debt Relief Companies engaged in telephonic solicitations.
 8            340. N.C. Gen. Stat. § 66-266(a) provides that any violation of the Telephonic
 9   Seller Registration Act “shall constitute an unfair and deceptive trade practice in violation
10   of N.C. Gen. Stat. §75-1.1.”
11            341. N.C. Gen. Stat. § 66-266(c) further provides that the remedies and penalties
12   available under the section “shall be supplemental to others available under the law, both
13   civil and criminal.”
14            342. Pursuant to N.C. Gen. Stat. §§ 66-266(b), in an action by the Attorney
15   General against a telephonic seller for violation of the Telephonic Seller Registration Act,
16   or for any other act or practice by a telephonic seller constituting a violation of N.C. Gen.
17   Stat. § 75-1.1, the court may impose civil penalties of up to $25,000 for each violation
18   involving North Carolina purchasers or prospective purchasers who are 65 years of age or
19   older.
20                                           Count XVIII
21                             By the People of the State of California
                                 California Unfair Competition Law
22                              Cal. Bus. & Prof. Code § 17200 et seq.
                               (All Defendants and Relief Defendants)
23
24            343. The People of the State of California re-allege and incorporate herein
25   paragraphs 1 through 342 of this Complaint.
26            344. California’s UCL, Business and Professions Code section 17200, prohibits
27   any “unlawful, unfair or fraudulent business act[s] or practice[s].” Cal. Bus. & Prof. Code
28   § 17200.

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 1         345. Section 17203 of the UCL provides that “(a)ny person performing or
 2   proposing to perform an act of unfair competition within this state may be enjoined in
 3   any court of competent jurisdiction.” Section 17203 also permits recovery of any
 4   “interest in money or property, real or personal” acquired by a violation of the UCL. Cal.
 5   Bus. & Prof. Code § 17203.
 6         346. Section 17206, subdivision (a), of the UCL provides that any person
 7   violating Section 17200 “shall be liable for a civil penalty not to exceed two thousand
 8   five hundred dollars ($2,500) for each violation, which shall be assessed and recovered in
 9   a civil action brought in the name of the [P]eople of the State of California . . . by any
10   city attorney of a city having a population in excess of 750,000,” thereby authorizing the
11   City Attorney of Los Angeles, which has a population in excess of 750,000, to bring such
12   an action. Cal. Bus. & Prof. Code § 17206.
13         347. Under the UCL’s Section 17205, these remedies and penalties are
14   “cumulative to each other and to the remedies or penalties available under all other laws
15   of this state.” Cal. Bus. & Prof. Code § 17205.
16         348. Defendants are all “persons” within the meaning of the UCL. Cal. Bus. &
17   Prof. Code § 17201.
18         349. “Unlawful” acts or practices, “unfair” acts or practices, and “fraudulent” acts
19   or practices each independently violate Section 17200. Beginning no later than 2015, and
20   continuing to the filing of this action, Defendants, and each of them, have repeatedly
21   violated the UCL by engaging in “unlawful, unfair, or fraudulent business act[s] or
22   practice[s]” with the sale of their purported student loan debt settlement services. Cal.
23   Bus. & Prof. Code § 17200. These violations include, but are not limited to:
24                a.     Violating the UCL through the following unlawful acts or practices
25         committed against California consumers, including in the City and County of Los
26         Angeles:
27                       i.     As to the Student Loan Debt Relief Companies and Individual
28                Defendants, violating California Financial Code § 12000 et seq., the

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 1             California Check Sellers, Bill Payers and Proraters Law, by acting as a
 2             check seller, bill payer, or prorater without first obtaining a license from the
 3             California Commissioner of Business Oversight. Cal. Fin. Code § 12200;
 4                          1.     As alleged in this Complaint, including but not limited to
 5                    in paragraphs 8-17, 25-32, 37-49, and 64-210, California consumers
 6                    provided funds to Defendants based upon assurances and
 7                    representations that Defendants would assist them in reducing or
 8                    otherwise managing their student loan debts and/or negotiate with
 9                    their creditors and distribute payments.
10                          2.     At all relevant times, the Student Loan Debt Relief
11                    Companies and Individual Defendants were not licensed by the
12                    California Corporations Commissioner as required by Financial Code
13                    § 12000 et seq.
14                    ii.   As to the Student Loan Debt Relief Companies and Individual
15             Defendants, violating California Financial Code section 28100, et seq., the
16             California Student Loan Servicing Act, which requires Student Loan
17             Servicers to be licensed to lawfully operate, by engaging in the business of
18             servicing student loans in California without obtaining a license as required
19             under the Act;
20                          1.     The Student Loan Debt Relief Companies and Individual
21                    Defendants are “persons” under the Student Loan Servicing Act. Cal.
22                    Fin. Code § 28104, subd. (j).
23                          2.     As alleged in this Complaint, including but not limited to
24                    in paragraphs 8-17, 25-32, 37-49, and 64-210, the Student Loan Debt
25                    Relief Companies and Individual Defendants have engaged in the
26                    business of servicing student loans in California. Cal. Fin. Code
27                    § 28104, subds. (f), (g), (l), (m), (n).
28                          3.     The Student Loan Debt Relief Companies and Individual

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 1                     Defendants never obtained a license to service student loans as
 2                     required under the California Student Loan Servicing Act. Cal. Fin.
 3                     Code § 28102, subd. (a).
 4                   iii.   As to all Defendants, violating the Telemarketing Sales Rule
 5             (“TSR”), which is specifically set forth in 16 C.F.R. Part 310, as set forth in
 6             this Complaint, including but not limited to in paragraphs 25-63, 211-222
 7             and paragraphs 234-270 (Count I (Advance Fees in Violation of the TSR –
 8             Enrollment Fees), Count II (Advance Fees in Violation of the TSR –
 9             Monthly Fees), Count III (Misrepresentations About Material Aspects of
10             Their Services in Violation of the TSR) (The Student Loan Debt Relief
11             Companies and Individual Defendants), Count IV (Misrepresentations
12             About Material Aspects of Their Services in Violation of the TSR) (True
13             Count, Prime, and TAS), Count V (Substantial Assistance in Violation of the
14             TSR) (Individual Defendants), and Count VI (Substantial Assistance in
15             Violation of the TSR) (Payment Companies)).
16                   iv.    As to all Defendants, violating the Consumer Financial
17             Protection Act of 2010 (CFPA), 12 U.S.C. §§ 5531 et seq., as set forth in
18             this Complaint, including but not limited to in paragraphs 25-63, 223-233
19             and paragraphs 271-298 (Count VII (CFPA – Deception) (The Student Loan
20             Debt Relief Companies and Individual Defendants), Count VIII (CFPA –
21             Deception) (True Count, Prime, and TAS), Count IX (Substantial Assistance
22             in Violation of the CFPA) (Individual Defendants), Count X (Substantial
23             Assistance in Violation of the CFPA) (Payment Companies), and Count XI
24             (CFPA Violation Based on Violation of TSR)).
25                    v.    As to the Relief Defendants, by receiving, directly or indirectly,
26             funds or other assets from Defendants that are traceable to funds obtained
27             from consumers through the deceptive and unlawful practices as set forth in
28             this Complaint, without having legal or equitable title to funds or other

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 1               assets received from Defendants as bona fide purchasers, as further alleged
 2               in paragraphs 50-63, 191-210, and paragraphs 299-303 (Count XII).
 3               b.     The Student Loan Debt Relief Companies and Individual Defendants
 4         also violated the UCL through the following unlawful, fraudulent and/or unfair
 5         acts or practices committed against California consumers, including consumers in
 6         the City and County of Los Angeles:
 7                      i.    Misrepresenting to consumers that Defendants could forgive
 8               consumers’ loans and otherwise misrepresenting Defendants’ ability to
 9               reduce or eliminate student loan debt;
10                     ii.    Misrepresenting to consumers that the consumers were
11               “approved” for student loan relief, and otherwise misrepresenting their
12               ability to qualify borrowers for government programs;
13                    iii.    Misrepresenting and falsely leading consumers to believe that
14               Defendants would apply payments made to Defendants to the consumers’
15               outstanding loans;
16                    iv.     Misrepresenting and falsely leading consumers to believe that
17               fees paid by consumers reflected the adjusted amount of the consumers’
18               periodic payments toward their outstanding loan balance;
19                     v.     Misrepresenting to consumers that the amount owed on their
20               student loans would be reduced if students signed up for Student Loan Debt
21               Relief Companies’ services;
22                    vi.     Misrepresenting to consumers that their loans would be
23               forgiven in whole or in part shortly after enrolling in Student Loan Debt
24               Relief Companies’ services;
25                    vii.    Misrepresenting to consumers that their monthly student loan
26               payment amount had been lowered for the life of the repayment plan;
27   //
28   //

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 1                    viii.    Misrepresenting that consumers were eligible or approved for
 2                lower monthly payments, including where such payment amounts had been
 3                calculated based on an incorrect family size, income, or marital status;
 4                     ix.     Misrepresenting to consumers that fees collected would be held
 5                in trust accounts maintained by a third-party account provider until the
 6                Student Loan Debt Relief Companies had performed certain services;
 7                      x.     Misleading consumers to believe that the Student Loan Debt
 8                Relief Companies are tied to or have a relationship with the federal
 9                government or a particular federal debt relief plan;
10                     xi.     Failing to inform consumers that it was their practice to submit
11                false information about consumers’ income, family size, and marital status
12                on loan adjustment applications in order to try to qualify consumers for
13                lower monthly payments;
14                    xii.     Misrepresenting government programs and payment plan terms
15                to consumers; and
16                    xiii.    The other practices described in this Complaint.
17         350. Due to the deceptive and fraudulent conduct described in this Complaint,
18   California consumers made payments to Defendants for services that they otherwise
19   would not have purchased, thereby causing harm to those consumers.
20         351. Defendants’ conduct, practices, and actions described in this Complaint
21   constitute multiple, separate violations of California Business and Professions Code
22   section 17200.
23                                    DEMAND FOR RELIEF
24         352. WHEREFORE, the Bureau and the States request, under 12 U.S.C.
25   §§ 5538(a), 5565(a); Minn. Stat. §§ 8.31, 325D.45, and 325F.70; the State of Minnesota’s
26   common law authority, including parens partiae authority; N.C. Gen. Stat. §§ 14-424,
27   75-14, 75-15.1, 75-16.1, and 66-266; and Cal. Bus. & Prof. Code §§ 17200 et seq. that
28   the Court:

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 1             a.      award the Bureau and the States such preliminary and injunctive and
 2       ancillary relief as may be necessary to avert the likelihood of consumer injury
 3       during the pendency of this action, including but not limited to a temporary and
 4       preliminary injunction, an order freezing assets, immediate access to business
 5       premises, and appointment of a Receiver against Defendants and Relief
 6       Defendants;
 7             b.      permanently enjoin Defendants from committing future violations of
 8       the TSR, the CFPA, the MNCFA, the MNDTPA, the NCDAA, the NCUDPA, the
 9       NCTSRA, and the UCL, and enter such other injunctive relief as appropriate;
10             c.      permanently enjoin Defendants from the advertisement, marketing,
11       promotion, offering for sale, or selling of any consumer-financial product or
12       service, including but not limited to any debt relief service;
13             d.      grant additional injunctive relief as the Court may deem to be just and
14       proper;
15             e.      award damages and other monetary relief against Defendants and
16       Relief Defendants as the Court finds necessary to redress injury to consumers
17       resulting from Defendants’ violations of the CFPA, the TSR, the MNCFA, the
18       MNDTPA, the NCDAA, the NCUDPA, and the NCTSRA, including but not
19       limited to rescission or reformation of contracts, the refund of monies paid,
20       restitution, disgorgement or compensation for unjust enrichment;
21             f.      award restitution against Defendants and Relief Defendants as the
22       Court finds necessary to redress injury to consumers resulting from Defendants’
23       violations of the UCL;
24             g.      award the Bureau and the States civil money penalties;
25             h.      award the Bureau and the States the costs of bringing this action, as
26       well as such other and additional relief as the Court may determine to be just and
27       proper; and
28             i.      award the States the costs of investigation and attorneys’ fees.

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 1   Dated: February 24, 2020
 2                                    Respectfully submitted,
 3
                                      THOMAS G. WARD
 4                                    Enforcement Director
 5                                    DEBORAH MORRIS
                                      Deputy Enforcement Director
 6
                                      _/s/__Jesse Stewart_________
 7
                                      Sarah Preis (admitted pro hac vice)
 8                                    Jesse Stewart (admitted pro hac vice)
 9                                    Enforcement Attorneys

10                                    Attorneys for Plaintiff Bureau of Consumer
11                                    Financial Protection

12
                                      JOSHUA H. STEIN
13                                    Attorney General of North Carolina
14                                    _/s/__ M. Lynne Weaver_____
15                                    M. Lynne Weaver
                                      Special Deputy Attorney General
16                                    (Admitted pro hac vice)
17                                    Attorney for the State of North Carolina
18
                                      KEITH ELLISON
19                                    Attorney General of Minnesota
20                                    __/s/__ Evan S. Romanoff ___
21                                    Evan S. Romanoff (admitted pro hac vice)
                                      Assistant Attorney General
22
                                      Attorney for the State of Minnesota,
23                                    By Its Attorney General, Keith Ellison
24
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 1   I, Jesse Stewart, attest that all other signatories listed, and on whose behalf the filing is
 2   submitted, concur in the filing’s content and have authorized the filing.
 3
 4                                            _/s/__Jesse Stewart_________
 5                                                  Jesse Stewart
 6
 7

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          EXHIBIT “C”




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15
16                        UNITED STATES DISTRICT COURT
17                       CENTRAL DISTRICT OF CALIFORNIA
18                                  SOUTHERN DIVISION
19
20   Bureau of Consumer Financial               CASE NO. 8:19-cv-01998 MWF-KS
     Protection, et al.,
21                                               NOTICE OF PENDENCY OF OTHER
                                                 ACTION OR PROCEEDING
22         Plaintiffs,
23         v.
24                                              Court:   Hon. Michael W. Fitzgerald
     Consumer Advocacy Center Inc., d/b/a
25                                                       Courtroom 5A
     Premier Student Loan Center, et al.,
26
          Defendants.
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 1         PLEASE TAKE NOTICE, pursuant to Local Rule 83-1.4, of a pending action or
 2   proceeding involving Defendants Consumer Advocacy Center Inc. (CAC) and Anan
 3   Enterprise, Inc. The Chapter 7 Trustee appointed over the estate of Defendant CAC (the
 4   Trustee) initiated an adversarial proceeding against Anan under 11 U.S.C. §§ 547 and
 5   548 and for unjust enrichment on December 30, 2019, in the U.S. Bankruptcy Court for
 6   the Southern District of Florida. The adversarial proceeding appears to arise from the
 7   same facts that form the basis of the Bureau’s claims against Anan as a Relief Defendant
 8   in this proceeding. The Trustee and the Bureau each allege that Anan was unjustly
 9   enriched by payments from CAC to Anan. A copy of the complaint filed in the
10   adversarial proceeding is included as Attachment A to this Notice.
11         The names, addresses, and telephone numbers for the parties to that adversarial
12   proceeding are:
13
14   Plaintiff:
15   Sonya Salkin Slott, Chapter 7 Trustee
16   c/o Glenn D. Moses
17   Genovese Joblove & Battista, P.A.
18   100 S.E. Second Street
19   Suite 4400
20   Miami, FL 33131
21   Tel: 954-423-4469
22
23   Represented by:
24   Glenn D. Moses
25   Genovese Joblove & Battista, P.A.
26   100 S.E. Second Street
27   Suite 4400
28   Miami, FL 33131
     Tel: (305) 349-2300
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 1   Defendant:
 2   Anan Enterprise Inc.
 3   c/o Kyle Dongwook Kim
 4   1015 Crocket St.
 5   R#25
 6   Los Angeles, CA 90021
 7
 8   Represented by:
 9   Pro Se
10

11   Please note that although Anan is listed as pro se in the adversarial proceeding, the
12   following attorneys entered an appearance on its behalf in the underlying bankruptcy
13   proceeding (Case No. 19-10655-PGH):
14
15   Michael S. Budwick, Esquire
16   Utibe I. Ikpe, Esquire
17   MELAND RUSSIN & BUDWICK, P.A.
18   3200 Southeast Financial Center
19   200 South Biscayne Boulevard
20   Miami, Florida 33131
21   Telephone: (305) 358-6363
22
23   Dated: February 24, 2020               Respectfully submitted,
24
25                                          /s/ Sarah Preis
                                            Sarah Preis (D.C. Bar No. 997387)
26                                          (admitted pro hac vice)
27                                          Enforcement Attorney
                                            1700 G Street NW
28                                          Washington, DC 20552
                                            Phone: (202) 435-9318
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 1                                    Fax: (202) 435-9346
 2
                                      Email: sarah.preis@cfpb.gov

 3                                    Attorney for Plaintiff
 4                                    Bureau of Consumer Financial Protection

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          EXHIBIT “D”




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